       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 1 of 100




                  UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF MINNESOTA


Sheila M. Dunn,                                   Case No. 0:22-cv-00615-NEB-JFD

                        Plaintiff,                Judge Nancy E. Brasel

       v.                                         Magistrate Judge John F. Docherty

Associates in Psychiatry and Psychology,          DECLARATION OF JAMES A.
P.A., et al.,                                     GODWIN IN SUPPORT OF
                                                  MOTION TO AMEND COMPLAINT
                       Defendants.


 STATE OF OREGON                     )
                                     ) SS.
 COUNTY OF JACKSON                   )

   James A. Godwin, under penalty of perjury pursuant to 28 U.S.C. § 1746, hereby

declares as follows:

   1. I am a licensed attorney in good standing in the State of Minnesota and am duly

       admitted to practice before this Court.

   2. I am employed as a partner at Godwin Dold. In that capacity, I am one of the

       attorneys for Plaintiff, Sheila M. Dunn.

   3. Attached as Exhibit A are true and correct excerpts from the deposition of Seth

       Franz, the CEO of APP. Mr. Franz’s deposition was taken on March 4, 2022

       (before the removal of this action to this Court) as APP’s corporate designee under

       Minn. R. Civ. P. 30.02(f).

   4. Attached as Exhibit B is a true and correct copy of Ms. Dunn’s proposed Second

       Amended Complaint.
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 2 of 100




   5. Attached as Exhibit C is a true and correct copy of Ms. Dunn’s redlined proposed

       Second Amended Complaint.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed on July 30, 2022.



                                                  /s/ James A. Godwin
                                                  James A. Godwin




                                              2
          CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 3 of 100

                                                                            Page 1
EXHIBIT
             STATE OF MINNESOTA          DISTRICT COURT - CIVIL DIVISION
  A          COUNTY OF WINONA                     THIRD JUDICIAL DISTRICT

             --------------------------------------
                                            Hon. Nancy L. Buytendorp
             Sheila M. Dunn,                File No. 85-CV-21-1472
                                            Case Type: Employment
                         Plaintiff,
                                                       Deposition of
                         vs                             SETH FRANZ
                                                        (Via Zoom)
             Associates in Psychiatry and
             Psychology, PA; and Does 1-20,

                           Defendants.

             --------------------------------------


                     The Zoom discovery deposition of SETH FRANZ, taken

             before Ken Dick, Court Reporter and Notary Public in and

             for the County of Olmsted, State of Minnesota, on the 4th

             of March, 2022, commencing at 9:05 a.m.



                                       APPEARANCES:

                    MR. JAMES A. GODWIN, (Via Zoom), Attorney at Law,
             of the law firm of Godwin Dold, 300 First Avenue
             Northwest, Suite 306, Rochester, Minnesota 55901, for
             the Plaintiff.

                    MR. BENJAMIN R. KINNEY, (Via Zoom), Attorney at
             Law, of the law firm of Gordon, Rees, Scully &
             Mansukhani, LLP, 100 South Fifth Street, Suite 1900,
             Minneapolis, Minnesota 55402, for the Defendant APP.




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                                  507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 4 of 100

                                                                   Page 3
 1                              SETH FRANZ

 2            was first duly sworn via Zoom, testified as

 3   follows:

 4

 5                          CROSS-EXAMINATION

 6   BY MR. GODWIN:

 7      Q.    Good morning.    Can you please say your name and

 8   spell your last name for the record.

 9      A.    Seth Franz.   F R A N Z.

10      Q.    Mr. Franz, my name is James Godwin.       I am an

11   attorney for Sheila Dunn in this matter.         I am going to

12   ask you, where are you located right now?

13      A.    In Chicago at the Gordon Rees law office.

14      Q.    Is anyone with you?

15      A.    Yes.

16      Q.    Is that APP's attorney, Benjamin Kinney?

17      A.    Yes.

18      Q.    Is anyone else with you?

19      A.    No.

20      Q.    Have you ever had your deposition taken before?

21      A.    Yes.

22      Q.    When was that?

23      A.    At various times.

24      Q.    Various times.    Okay.   Let's start with the first

25   one.    When was the first time you had your deposition


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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 5 of 100

                                                                   Page 6
 1      Q.    What information did she give you that you didn't

 2   have before?

 3            MR. KINNEY:     I am going to object to the extent it

 4   calls for privileged information.

 5            If there were conversations, Seth, that you had

 6   outside of the conversations when we were present, you

 7   can go ahead and answer.

 8      A.    There were none.

 9      Q.    (Mr. Godwin) What position does Ms. Heu have with

10   the company?

11      A.    She is a clinical manager.

12      Q.    Do you have any communications with her regarding

13   this case in writing?

14      A.    Only that that has been produced.

15      Q.    Have you communicated with anyone else regarding

16   this case?

17      A.    I let our HR director know that I would be out

18   today.

19      Q.    Who is your HR director?

20      A.    Julie Aubel.     A U B E L.

21      Q.    How long has Ms. Aubel been --

22      A.    And I let our chief clinical officer also know

23   that I would be out today.

24      Q.    Who is your chief clinical officer?

25      A.    Priyanka Rao.



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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 6 of 100

                                                                   Page 7
 1      Q.   How long has Ms. Aubel been the HR director?

 2      A.   Since September of 2021.

 3      Q.   Is she the HR director for APP?

 4      A.   Yes.

 5      Q.   Do her responsibilities cover any other companies?

 6      A.   Yes.

 7      Q.   What are those?

 8      A.   Great Lakes Behavioral Partners.

 9      Q.   Any others?

10      A.   Main Sail Therapeutics.

11      Q.   I believe the audio delays if we talk over each

12   other a little bit.    But I will try to slow down.       We

13   will bear with it.

14           Who was the HR director before her?

15      A.   I'm sorry, could you repeat the question.

16      Q.   Sure.   Who was the HR director at APP before

17   Ms. Aubel?

18      A.   I was working as the HR director while we were

19   looking for an HR director.

20      Q.   What was the time frame when you were serving in

21   that role as HR director?

22      A.   Since August of 2019 through September of 2021.

23      Q.   How long has Ms. Rao been with the company?

24      A.   Since November of 2020.

25      Q.   To be clear, when I refer to the company or



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                           507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 7 of 100

                                                               Page 14
1    instructing him not to answer?

2            MR. KINNEY:    What was the question?

3            MR. GODWIN:    Are you instructing him not to

4    answer?

5            MR. KINNEY:    What was the question posed to the

6    witness?

7            MR. GODWIN:    Were there any other entities

8    involved in that lawsuit?

9            MR. KINNEY:    You can answer.

10      A.   No.

11      Q.   (Mr. Godwin) Thank you.

12           Are you employed now, Mr. Franz?

13      A.   Yes.

14      Q.   Where are you employed?

15      A.   Associates in Psychiatry and Psychology.

16      Q.   Anywhere else?

17      A.   Great Lakes Behavioral Partners.

18      Q.   Anywhere else?

19      A.   No.

20      Q.   With APP, what is your title?

21      A.   Chief Executive Officer.

22      Q.   Do you have any other titles at the moment?

23      A.   No.

24      Q.   I believe you indicated that you were serving as

25   the HR director at one point.        Are you serving in any

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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 8 of 100

                                                               Page 15
 1   roles other than CEO right now?

 2      A.    No.

 3      Q.    Have you served in any other roles, other than

 4   CEO, in the last three years, or HR director?

 5      A.    Yes.

 6      Q.    What roles were those?

 7      A.    Various roles.   I filled in for any vacancies that

 8   arose.

 9      Q.    When did you come to work for APP?

10      A.    In August of 2019.

11

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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 9 of 100

                                                               Page 32
 1      A.   Yes.

 2      Q.   Do you use that in conjunction with Microsoft

 3   Word?

 4      A.   For leadership, yes.

 5      Q.   What's leadership?

 6      A.   Leadership of the organization.

 7      Q.   Oh.    I thought you said or leadership.       You said

 8   for leadership.     Is that right?

 9      A.   Correct.

10      Q.   Are there handbooks created with Microsoft Word?

11      A.   I believe so.

12      Q.   Who creates them?

13      A.   I've created them in the past, with the help of

14   our attorneys.     And now our HR director is overseeing

15   them.

16      Q.   When is the last time you created one?

17      A.   I would have to check the records.

18      Q.   Was it in 2022?

19      A.   No.

20      Q.   Was it in 2021?

21      A.   Yes.

22      Q.   The last time you created or modified an employee

23   handbook, did you use Microsoft Word for that?

24      A.   Yes.

25      Q.   Have you personally ever used any other Word


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                          507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 10 of 100

                                                               Page 35
 1           MR. GODWIN:    Under Rule 30, the only appropriate

 2   instruction not to answer are to protect privilege or if

 3   there is a court order.      I don't believe that's the case

 4   here.   So I am going to ask you to withdraw the

 5   instruction.     I will let you act as you desire.

 6           MR. KINNEY:    I will not withdraw the instruction.

 7   There is a pending motion for protective order on this

 8   subject.

 9      Q.   (Mr. Godwin) Let's look at page 19.         So, on page

10   19 there is a sub D here, it says Matters Requiring

11   Heightened Review.     Do you see that?

12      A.   Yeah.

13      Q.   Are you seeing my screen still?

14      A.   I am, yes.

15      Q.   Maybe it took a second to update.        Do you see it

16   now?

17      A.   Yes.

18      Q.   Okay.    So this policy refers to APP's chief

19   executive officer.     And that's you, correct?

20      A.   Yes.

21      Q.   And that was you for the entire course of

22   Ms. Dunn's employment; is that right?

23      A.   Yes.

24      Q.   And it also refers to APP's owner, correct?

25      A.   Yes.


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                           507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 11 of 100

                                                               Page 36
 1      Q.     Currently that is Ms. Rao; is that right?

 2      A.     Yes.

 3      Q.     Who was it before it was Ms. Rao?

 4      A.     Steve Patton.

 5      Q.     Was that prior to your involvement in the company?

 6      A.     Yes.

 7      Q.     The next page, which is page 20, there is a

 8   subdivision E entitled Non-Retaliation.        Do you see that?

 9      A.     Yes.

10      Q.     This refers to contacting the director of

11   operations.      Who is the current director of operations

12   for APP?

13      A.     We do not have a current director of operations.

14      Q.     At the time this handbook was provided to

15   employees, who was the director of operations?

16      A.     At the time it would have been me.

17      Q.     Let's look at the next page, number 21.      Rules of

18   Conduct.     And this refers to certain standards of job

19   performance and good conduct.       Can you tell me what those

20   standards are?

21      A.     I'm sorry, I don't understand the question.

22      Q.     So, the policy refers to certain standards of job

23   performance and good conduct.       Can you elaborate on that

24   at all?

25      A.     We have multiple positions.    I am not sure which



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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 12 of 100

                                                               Page 60
 1   deposition, in the discovery that you all produced, it's

 2   also come to our attention that she was calling patients

 3   outside of our organization, on behalf of our

 4   organization and not recording those documents.          And

 5   still writing prescriptions on our system.

 6      Q.   Is it Dr. Rao?    Should I be referring to her that

 7   way?

 8      A.   Yes.

 9      Q.   Okay.   How did Dr. Rao communicate concerns that

10   providers brought to her attention to you?

11      A.   We had a weekly meeting.

12      Q.   Do you have an agenda for that meeting?

13      A.   Occasionally.

14      Q.   How was that agenda communicated?

15      A.   We typically have bullet points jotted down on

16   whatever scrap of paper we have available and we discuss.

17      Q.   Do you save those papers?

18      A.   No.

19      Q.   Do you ever have a follow-up email or other

20   documentation to record what you discussed and what the

21   results were?

22      A.   For certain things, yes.

23      Q.   How do you determine what warrants being recorded?

24      A.   It really depends on if there is another thought

25   that one of us has, or if we need to clarify something.



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                           507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 13 of 100

                                                               Page 61
 1   It's very discretionary.

 2      Q.    Is that within your discretion, as to whether you

 3   save something?

 4      A.    It's in the discretion of Dr. Rao and myself.         If

 5   one of us feels the need to follow up in writing, we do.

 6   If we don't feel the need to follow up in writing, we

 7   don't.

 8      Q.    What would be something important enough for you

 9   to follow up in writing?

10      A.    There are all kinds of different things; depending

11   on what action items there are.       If we need to -- I'm

12   sorry.    If it's something -- you know, it really depends

13   on if there is follow-up that's needed.        There doesn't

14   have to be -- there is not a certain threshold

15   necessarily, if there is something that's needs to be

16   followed up or a reminder.      There is not really a

17   criteria for how we follow up.

18      Q.    So if there is not a written follow-up, that's

19   because someone just made the determination that the

20   particular item wasn't important enough to have a written

21   follow-up; is that right?

22      A.    I think you are misinterpreting what I am saying.

23      Q.    I am trying not to.

24            What was the last thing that was important enough

25   to have a written follow-up?



                    Carney & Associates, Inc.
                          507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 14 of 100

                                                               Page 72
 1      A.    Early August of 2021.

 2      Q.    Prior to her leaving, did you ask her to retain

 3   any information she had about Ms. Dunn?

 4      A.    No.

 5      Q.    Why not?

 6      A.    It was documented in our EMR system.

 7      Q.    Did you ask her to confirm that everything she had

 8   has been documented in the EMR system?

 9      A.    No.

10      Q.    Why not?

11      A.    It didn't occur to me at that point.       This was

12   prior to Ms. Dunn's termination.

13      Q.    So Ms. Dunn's termination was in -- I will ask

14   you.    From your perspective, when was Ms. Dunn's

15   termination?

16      A.    The leadership team made that decision on June

17   21st in a meeting we had.       And I had a meeting scheduled

18   with Ms. Dunn for July 9th; which is where I terminated

19   her.

20      Q.    Where did that meeting on the 23rd take place?

21      A.    There was no meeting on the 23rd.

22      Q.    Sorry.     The June meeting, what date was that?

23      A.    The 21st.

24      Q.    My apologies.     Where did that meeting take place?

25      A.    Via Zoom.



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                             507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 15 of 100

                                                               Page 73
 1      Q.    Was everyone on Zoom?

 2      A.    That's vague.   Can you please clarify.

 3      Q.    Yeah.   Was there any participant who -- were there

 4   any participants in that meeting who were physically

 5   together at the time?

 6      A.    No.

 7      Q.    Did you take any notes regarding that meeting?

 8      A.    Yes.

 9      Q.    Were any of those regarding Ms. Dunn --

10      A.    I did not.   Dr. Rao did.

11      Q.    Has she provided those to you?

12      A.    She provided those as a recap; that we have since

13   produced to you.

14      Q.    Did she provide the other notes that she took?

15      A.    Which other notes?

16      Q.    Maybe I misheard you.    It sounded like you said

17   she took notes and then you created a recap.         Is that not

18   right?

19      A.    I don't know how she took notes.      She may have

20   typed them into an email.      She may have typed them into

21   Word.    I don't know how she takes her notes.       But she

22   sent a recap out after that meeting, which we have since

23   produced to you.

24      Q.    Did you ask her if she has any notes that we would

25   want produced in the lawsuit?



                      Carney & Associates, Inc.
                            507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 16 of 100

                                                               Page 81
 1   regarding Ms. Dunn; is that right?

 2      A.   I said any communication or pertinent documents.

 3      Q.   Okay.    How did you communicate that request to

 4   them?

 5      A.   I had a conversation with both, individually and

 6   together.

 7      Q.   In person?

 8      A.   Remotely.

 9      Q.   Did you document that communication in any way?

10      A.   No.

11      Q.   Did you do the confidentiality training?

12      A.   Yes.    I am our compliance officer.

13      Q.   When did you complete that?

14      A.   I'm sorry, could you repeat that.

15      Q.   Certainly.    When did you complete your training?

16           MR. KINNEY:    Objection.     This is irrelevant.

17   Totally beyond the scope.

18           Answer, if you know.

19      A.   I completed it -- the first time I completed it

20   was in 2014, and then annually after that.          My

21   compliance, I go through the training.         It's due for me

22   April 30th, I believe, for this year.

23      Q.   (Mr. Godwin) Maybe we are talking about different

24   type of training.     Are you saying that the first time

25   that APP providers were required to undertake this


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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 17 of 100

                                                               Page 82
 1   training was in 2021?       Or are we talking about a

 2   different kind of training?

 3      A.    The specific reliance training that we have

 4   required.       Prior to that we had quarterly HIPAA and OSHA

 5   presentations that the providers were supposed to take.

 6   That stopped in the second, third and fourth quarters of

 7   2020 due to the pandemic.        That's why we rolled out the

 8   new learning management system.

 9      Q.    Was it Ms. Rao, if I remember correctly, who was

10   on maternity leave during part of this period?          Is that

11   right?    Or was that Ms. Hue?      I'm sorry.   Was it Dr. Rao?

12      A.    Yes.

13      Q.    Okay.     Thank you.   When did she go on maternity

14   leave?

15      A.    In March of 2021.

16      Q.    When did she come back?

17      A.    Mid June of 2021.

18      Q.    But she was still working?

19      A.    She was on leave.

20      Q.    Aren't there emails from her during that period?

21      A.    I am sure that there are emails from her during

22   that period.       She was the chief clinical officer.     She

23   checked in here and there.

24      Q.    Did you talk to her during that period?

25      A.    Yes.



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                             507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 18 of 100

                                                                Page 83
 1      Q.     Did you talk about Ms. Dunn with her during that

 2   period?

 3      A.     No.

 4      Q.     Do you remember which day she returned from

 5   maternity leave?

 6      A.     It was mid June.

 7      Q.     So before the meeting regarding Ms. Dunn's

 8   employment on the 21st of June; is that right?

 9      A.     Yes.

10      Q.     When you asked these two individuals to provide

11   pertinent communication, did you let them decide what

12   information was pertinent?

13      A.     I outlined what we were looking for, based on the

14   discovery request.

15      Q.     And you just did that orally?

16      A.     Yes.

17      Q.     So instead of providing them what the requests

18   actually were, you put them in your own words; is that

19   right?

20             A.     (Inaudible.)

21             MR. KINNEY:     Counsel, if we are between questions,

22   the witness would like to take a break.

23             MR. GODWIN:     There is one pending question.

24   That's whether he communicated the specific language of

25   the document request or whether he put them in his own



                        Carney & Associates, Inc.
                              507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 19 of 100

                                                              Page 107
 1      Q.    Is there one in Edina?

 2      A.    There is not one in Edina, no.

 3      Q.    Okay.    Are those all owned by APP, or Associates

 4   in Psychiatry and Psychology, PA?

 5      A.    Yes.    They are clinical assets.    Yes.

 6      Q.    Is Dr. Rao the sole owner of APP, PA?

 7      A.    I believe I have answered that.      But, yes, she is.

 8      Q.    I wasn't trying to ask it repetitively.       It's hard

 9   to remember everything.

10            So Ms. Rao owns APP, PA, which in terms owns these

11   offices; is that right?

12      A.    They practice at those offices.

13      Q.    Who owns the offices themselves?

14      A.    We lease in Faribault.      We lease everywhere.

15      Q.    So you are talking about the physical space,

16   right?

17      A.    If that's not what you are asking; I am not sure

18   what you are asking.

19      Q.    Sure.    What about the other physical assets?

20   Computers, for example, does APP own those at the other

21   locations?

22      A.    No.

23      Q.    Who does?

24            MR. KINNEY:    Objection.    Irrelevant.

25      A.    Great Lakes Behavioral Partners.



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                            507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 20 of 100

                                                              Page 124
 1   not asked directly to provide something and not provide

 2   it to Ms. Dunn.

 3         Q.   Who makes sure that APP complies with its human

 4   resources legal obligations?

 5         A.   Now it's our HR director.

 6         Q.   You indicated earlier you understand that you are

 7   here to testify on behalf of APP.         So my question is, if

 8   you don't have this knowledge, who does?

 9         A.   At that time we did not have an HR director.

10         Q.   So there is no way to know if Ms. Dunn requested

11   information she wasn't provided?

12         A.   She should have requested that from me.     That was

13   the proper protocol.      If she didn't request that from me,

14   as I said, I was the one calculating this.         I was the one

15   calculating all payroll.         Who else would she have gone

16   to?

17         Q.   How would she know to communicate directly with

18   the CEO regarding her wages?

19         A.   I communicated frequently with people about their

20   wages.

21         Q.   Is that in the employee handbook, that questions

22   about wages need to go to the CEO?

23         A.   I don't believe so.

24         Q.   Was it ever communicated to her in writing that

25   she needed to go to the CEO if she had a question about



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                            507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 21 of 100

                                                              Page 125
 1   her pay?

 2         A.   It may have been communicated in writing at some

 3   point.      To my knowledge it was not.     However, in all of

 4   the meetings that we had where she was in attendance, I

 5   addressed any payroll issues.       She knew, as did all of

 6   our employees, that if they had a question regarding

 7   payroll, they could come to me.

 8         Q.   There was at least one time when you communicated

 9   with Ms. Dunn regarding her wages but through an

10   intermediary, wasn't there?

11         A.   Laura Schroeder would answer questions

12   occasionally, yes.

13         Q.   Do you remember a time when Ms. Dunn indicated

14   that she thought that her pay was lower than it should

15   be?

16         A.   Yes.

17         Q.   When was that?

18         A.   I don't recall the exact date.

19         Q.   Do you remember if you communicated with Ms. Dunn

20   directly regarding that issue?

21         A.   I do not.

22         Q.   Did you tell her that she needs to be

23   communicating with you directly regarding that issue?

24         A.   I don't recall if I did or not.

25         Q.   So it is possible that employees think they should



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                             507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 22 of 100

                                                              Page 126
 1   be communicating with someone other than the CEO

 2   regarding their wages; is that fair to say?

 3      A.    If I was out and they had a question and they

 4   needed an answer, Laura Schroeder would occasionally

 5   answer those questions, yes.

 6      Q.    Do you remember the nature of the error in

 7   Ms. Dunn's pay?

 8      A.    I do.

 9      Q.    What happened?

10      A.    In transferring the number from the spreadsheet

11   into our payroll system, it was entered incorrectly.

12      Q.    She wasn't the only one that had that happen, was

13   she?

14      A.    Over time, no.

15      Q.    And she only received the payment she was entitled

16   to when she complained about it, right?

17      A.    I don't remember if she only received it because

18   of that.     We made a habit, and we still have that habit,

19   of going back through and auditing to make sure that we

20   are paying everybody accurately.

21      Q.    How many times have these errors happened?

22            MR. KINNEY:   Objection.    Irrelevant.    Beyond the

23   scope.     We are not here to talk about anybody else.         So I

24   will instruct the witness not to answer beyond with

25   regard to Ms. Dunn.



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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 23 of 100

                                                              Page 127
 1             MR. GODWIN:   We are here to talk about the system

 2   itself.     And we do plan to ask the court to ask about how

 3   this error prone system is the one that was applied to

 4   Ms. Dunn.     So I think we are entitled to ask about the

 5   system itself.

 6             MR. KINNEY:   All right.    Well, ask the court then.

 7             MR. GODWIN:   What's the instruction?

 8             MR. KINNEY:   The witness is only going to respond

 9   with regard to issues with Ms. Dunn.

10      Q.     (Mr. Godwin) Okay.    Ms. Dunn was told, was she

11   not, that there was an error in someone else's wages as

12   well as hers?

13      A.     I don't recall.

14

15

16

17

18

19

20   Ms. Dunn's wages.       How did you come to realize that there

21   had been an error?

22      A.     I am not sure if she brought it up first or if we

23   caught it.     But it was a miss-key of a zero and a 6, I

24   believe.

25      Q.     Do you save those audits?



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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 24 of 100

                                                               Page 139
 1   directly to me with payroll questions?

 2         A.     My stance since then, and continues to be, if

 3   somebody has a question around payroll, that they can

 4   come to me.

 5         Q.     They can, but they are not required to.     Is that

 6   right?

 7         A.     I am the one with the most information.     It makes

 8   the most sense.          But they are not required to, no.

 9         Q.     Did APP instruct Ms. Schroeder to preserve

10   documents that might be relevant to this dispute with

11   Ms. Dunn?

12         A.     No.

13                MR. GODWIN:    The next one is exhibit 8, which I

14   think is 6.          I am going to have to back out so we can see

15   it.        If you need me to zoom in to read the text, I can.

16   It's clear on my screen, but yours may be smaller.

17         Q.     (Mr. Godwin) So this appears also to be between

18   Ms. Schroeder and Ms. Dunn.           Is that your understanding?

19         A.     It's appears that way.

20         Q.     Okay.    And this refers to Ms. Dunn.   This one is

21   asking Laura, Ms. Schroeder, to tell her whether Seth

22   corrected the error with her check.           Do you see that?

23         A.     Yes.

24         Q.     Do you remember what that was?

25         A.     I do not remember what this was.



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                                507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 25 of 100

                                                              Page 163
 1   provider checks.        Do you see that?

 2      A.     Yes.

 3      Q.     Do you remember this error?

 4      A.     We discussed it previously, yes.

 5      Q.     This indicates that the error was around $6,000,

 6   correct?

 7      A.     Correct.

 8      Q.     Do you know why she didn't say it was exactly

 9   $6,000?

10      A.     I don't.     I don't know what her rationale for

11   saying that was.        She was not the one calculating payment

12   and entering it into our payroll system.        I was.

13      Q.     How did Laura come to know that Seth made an error

14   on a couple provider checks?

15      A.     We discussed that.

16      Q.     Did you send her an email?

17      A.     No.     Laura and I were constantly on the phone.

18      Q.     How much was the exact amount of the error?

19      A.     It was $6,000.     As I mentioned previously, I

20   miss-keyed a zero and a 6, I believe.

21      Q.     Okay.     So that's to the penny; is that right?

22      A.     What's to the penny?

23      Q.     The $6,000 miscalculation.

24      A.     Yes.

25      Q.     For what time range was that error?



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                              507-288-3558
 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 26 of 100

                                                              Page 164
 1      A.     I believe this looks like in late November, early

 2   December.

 3      Q.     Do you know what the earliest date of services

 4   that were affected by that error were?

 5      A.     No.    There is a vast amount of services.      I have

 6   not memorized every line item on these reports.

 7      Q.     When should have that compensation been paid if

 8   not for the error?

 9      A.     It should have been paid with the paycheck that

10   was processed on this Friday, November 20th.          I think

11   it's 20th.       I can't tell.   It is too small.    That was a

12   pay period, it should have been processed then.           We

13   corrected it that day so that she would get paid on

14   Monday.     There was a one business day delay on that

15   compensation.

16      Q.     Were you one of the people acting in the interest

17   of APP in relation to Ms. Dunn?

18      A.     I'm sorry, could you repeat that.

19      Q.     Were you one of the people acting in the interest

20   of APP in relation to Ms. Dunn?

21      A.     I don't think I understand your question.

22      Q.     You are paying Ms. Dunn, right?

23      A.     Correct.

24      Q.     Calculating her wages.

25      A.     Yes.


                      Carney & Associates, Inc.
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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 27 of 100

                                                              Page 165
 1      Q.     And you are doing that in the interest of APP,

 2   right?

 3      A.     Yes.

 4      Q.     So you are one of the people who acted in the

 5   interest of APP with relation to Ms. Dunn; is that fair

 6   to say?

 7      A.     Yes.

 8      Q.     Is Dr. Rao also someone who acted in the interest

 9   of APP in relation to Ms. Dunn?

10      A.     I assume so, yes.

11      Q.     Okay.    Was there anyone else who acted in the

12   interest of APP in relation to Ms. Dunn?

13             MR. KINNEY:   Objection.    These are just vague and

14   confusing questions.

15             You can answer if you understand.      But I don't

16   even understand.

17      A.     Yeah.    I mean, I guess I don't understand 'in the

18   interest' here that you are asking.        I am very confused

19   over these questions.

20      Q.     (Mr. Godwin) Gotcha.    Let me ask it a little more

21   clearly.    The Wage Step Act says:      Employer means any

22   individual, partnership association, corporation,

23   business trust or any person or group of persons acting

24   directly or indirectly in the interest of an employer in

25   relation to an employee.


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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 28 of 100

                                                               Page 184
 1      Q.    Okay.    Who told her?

 2      A.    Who told her what?

 3      Q.    That she was fired.

 4      A.    I did.

 5      Q.    Did you tell her why?

 6      A.    Yes.

 7      Q.    What did you tell her at that time?

 8      A.    I told her that she was terminated for lack of

 9   professionalism.     I can go into all those again if you

10   would like me to.

11            Laying on a bed during a company meeting.         Poor

12   patient boundaries.      Multiple times laying on a bed

13   during a company meeting.         Oftentimes underneath

14   blankets, as though she was resting or just woke up from

15   a nap.   The fact that those poor patient boundaries, she

16   was trying to provide therapy.        Which is not within her

17   scope.   She is a nurse practitioner.        Or an advanced

18   practice nurse.      She is not to provide only therapy

19   (sic).

20            The fact that we had to read all of her writings,

21   and it did not continue to improve.        We talked about the

22   liability she was to the company, because she continued

23   to write the wrong prescriptions.        She admitted that she

24   rushed through and she was trying to do better.           But

25   trying at that point was too late, when there were that


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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 29 of 100

                                                              Page 191
 1   fired, does it?

 2      A.    She wasn't fired at that time.      That's when we

 3   made that decision.

 4      Q.    Do you know why there is not an action on it?

 5   Does someone have to tell Sheila that she has been fired?

 6      A.    Because that was my action item to do.       It was

 7   fully understood.

 8      Q.    Why isn't Seth to contact her listed here?

 9      A.    I don't how I can make that any clearer.        That was

10   my responsibility that I knew at that time.

11      Q.    So a few lines up in blue, there is an action item

12   that says Seth to contact.      Can you explain why that

13   action item is listed but terminating Sheila is not?

14      A.    This is our agenda, that we then sent out as a

15   recap.    Jessica Miller is one that multiple people

16   interviewed.     I could have reached out to her.      Other

17   people could have reached out to her.        It was determined

18   that I would.

19            In the others, there were multiple people that

20   could do it.     It was my decision.    It was my

21   responsibility to terminate Sheila.        We didn't need to

22   call that out explicitly.

23      Q.    Okay.   Let's look at the email addresses on here.

24   This has seth@ursabhm.com.      Do you see that?

25      A.    I do.



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 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 30 of 100

                                                              Page 216
 1                                     CERTIFICATE

 2
     STATE OF MINNESOTA )
 3                               )SS
     COUNTY OF OLMSTED     )
 4
                 BE IT KNOWN that I took the Zoom discovery
 5   deposition of the witness, SETH FRANZ; that I was then
     and there a court reporter and notary public in and for
 6   said county and state; that said witness, before
     testifying, was duly sworn to testify to the truth, the
 7   whole truth and nothing but the truth relative to the
     cause specified; that said deposition, upon
 8   transcription, was made available to said witness for
     reading and signing; that the examination was conducted
 9   on behalf of the parties as hereinbefore indicated; that
     the cost of the original has been charged to the party
10   who noticed the deposition; and that all parties who
     ordered copies have been charged at the same rate for
11   such copies; that I am not counsel of any party, a
     relative or employee of any counsel or party connected
12   with the action, nor financially interested in the
     action; and that the foregoing 215 pages contain to the
13   best of my ability, a true and correct transcription of
     all of the testimony of said witness and of all of the
14   proceedings had on the taking of said deposition.

15

16                       WITNESS MY HAND AND SEAL this 21st day

17   of March, 2022.

18

19                             _________________________

20

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23

24

25


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   CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 31 of 100




                                         CARNEY & ASSOCIATES
                                               P.O. Box 262
                                         Rochester, Minnesota 55903
                                               507-288-3558

                                            WITNESS DECLARATION

      I hereby acknowledge that I have read the transcript of my deposition taken on
March 4th, 2022, and that I have attached hereto any corrections, additions, or changes to
my answers that I deem necessary.
            4/4/2022
Dated: ____________________
                                           /s/ Seth Franz
                               Deponent: _________________________________________
                                            Seth Franz


Page / Line                  Correction       /   Change and Reason for Change
                       |
 17/15                     Change "Nathan Segal(ph)" to "Ethan Rii," for incorrect transcription

 58/13                 |
                       Change "Jean Allen, Sandra White," to "Jeanne Allen, Shandra White," for incorrect transcription
                       |
 76/18                     Change "reliance" to "Relias" for incorrect transcription
                       |
 82/3                      Change "reliance" to "Relias" for incorrect transcription
                       |
90/23                  Change "High Point" to "Insight" for incorrect transcription
                       |
 153/16                    Change "Google 5" to "Google Fi" for incorrect transcription
                       |
 213/4                 Change "parents" to "patients" for incorrect transcription
                       |
 214/4                     Change "any" to "all" for incorrect transcription
                       |
 92/3-13                      Change "Goggle" to "Google" for incorrect transcription
                       |
 93/11                       Change "Goggle" to "Google" for incorrect transcription
                       |      Change "Goggle" to "Google" for incorrect transcription
 94/7
                       |
  123/3-6                     Change "Xcel" to "Excel" for incorrect transcription
                       |
  123/18                     Change "Xcel" to "Excel" for incorrect transcription
                       |     Change "Google 5" to "Google Fi" for incorrect transcription
 153/16
                       |
198/23                       Change "Goggle" to "Google" for incorrect transcription

                       |
 201/4-5                     Change "Xcel" to "Excel" for incorrect transcription
                       |
          CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 32 of 100
EXHIBIT
  B
                     UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF MINNESOTA


   Sheila M. Dunn,                                  Case No. 0:22-cv-00615-NEB-JFD

                              Plaintiff,            Judge Nancy E. Brasel

                        v.                          Magistrate Judge John F. Docherty

   Associates in Psychiatry and Psychology,         SECOND AMENDED COMPLAINT
   P.A., Seth Franz, Priyanka Rao, Does 3–20,

                             Defendants.


          Plaintiff, Sheila M. Dunn, states and alleges as follows:

                                           THE PARTIES

          1.     Ms. Dunn is a natural person who resides in Winona County, Minnesota.

          2.     Defendant Associates in Psychiatry and Psychology, P.A. (“APP”) is a

   Minnesota corporation with its principal executive office address in Rochester, Minnesota.

          3.     Defendant Seth Franz is a natural person who, upon information and belief,

   resides in Oak Park, Illinois.

          4.     Defendant Priyanka Rao is a natural person who, upon information and

   belief, resides in Maple Grove, Minnesota.

          5.     Upon information and belief, Defendants Does 3–5 are individuals of

   unknown residence.

          6.     Upon information and belief, Defendants Does 6–10 are individuals of

   unknown residence.
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 33 of 100




       7.     Upon information and belief, Defendants Does 11–15 are entities of

unknown corporate form and residence.

       8.     Upon information and belief, Defendants Does 16–20 are entities of

unknown corporate form and residence.

                             JURISDICTION AND VENUE

       9.     This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.

§ 1331, as the case raises claims based upon federal statute. This Court further has

supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiff’s state law claims.

This Court has personal jurisdiction over Defendant APP as it is a corporation operating

and located in the State of Minnesota.

       10.    This Court has personal jurisdiction over Defendant Franz as, pursuant to

Fed. R. Civ. P. 4 and Minn. Stat. § 543.19, he transacts business within the state.

       11.    This Court has personal jurisdiction over Defendant Rao as she resides within

the State of Minnesota.

       12.    Venue is proper in the District of Minnesota under 28 U.S.C. § 1391(b)(2)

because a substantial part of the events and/or omissions giving rise to claim occurred in

Minnesota.

                              FACTUAL BACKGROUND

       13.    This case arises from Ms. Dunn’s employment with APP, which began in or

around May of 2020. APP has an annual dollar volume of business revenue in excess of

$500,000.




                                             2
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 34 of 100




       14.    Ms. Dunn is a registered nurse and certified nurse practitioner who served in

that role at APP in her first position following earning her nurse practitioner certification.

       15.    APP is a mental health practice providing various forms of therapy,

psychiatric, and psychological services.

       16.    In April of 2020, APP offered employment to Ms. Dunn, and she accepted.

The Written Employment Agreement

       17.    Later, to memorialize the employment relationship, APP forwarded to Ms.

Dunn a written contract of employment (the “Employment Agreement”), a copy of which

is attached as Exhibit 1.

       18.    The Employment Agreement was at least partially incomplete, omitting

various numbered paragraphs and failing to include information required by Minn. Stat. §

181.55.

       19.    While the Employment Agreement acknowledged Ms. Dunn’s status as an

employee, it purported to compensate her based upon an illegal profit-sharing scheme.

       20.    Specifically, the Employment Agreement provides as follows:

              Compensation. The parties agree that, as for compensation
              employee will be paid sixty percent (60%) of collected
              receivables, which shall be understood to be those payments
              already collected and listed as ‘payments’ on the Monthly
              Provider Summary Report prepared by Employer’s billing
              department and approved by Employer on the revenue that
              Employee personally generates for APP per month for each
              specific month, less all applicable local, state and federal
              withholdings, or other deductions employee wishes to take
              (examples: set asides for health savings account, medical or
              retirement savings accounts). Employee agrees that payment
              shall be made by Employer to Employee (or directly deposited
              by Employer to Employee’s personal bank account), every


                                              3
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 35 of 100




              other Friday based on the prior period’s receipts and Employee
              shall sign all appropriate forms in a timely manner to facilitate
              payment. Should there be a holiday on one of these dates,
              paychecks will be deposited the following business day.
              Employee further understands that all case notes must be
              completed in order to bill for the session.

Employment Agreement, p. 2, ¶ 1.

       21.    Upon information and belief, APP used the same or similar illegal language

in its contracts with other employees.

       22.    APP failed to provide the beginning-of-employment notices required by

Minn. Stat. § 181.032(d).

       23.    Throughout Ms. Dunn’s employment, APP failed to provide accurate and

complete earning statements as required by Minn. Stat. § 181.032 and the contract itself.

       24.    Ms. Dunn regularly worked without pay on days when she was supposed to

be relieved of duty for time off or to attend training.

       25.    During these times she answered questions from patients and coworkers,

often to the extent that she was unable to complete training exercises.

       26.    Ms. Dunn made multiple requests for APP to provide her with Current

Procedural Terminology (“CPT”) codes and policies so that Ms. Dunn could bill patients

properly.

       27.    APP refused to provide all relevant CPT codes and policies.

       28.    In July 2021, Ms. Dunn reported to APP that patients may be improperly

billed because she was unsure of what needed to be included in notes to meet billing

requirements for billing the codes APP required her to use.



                                              4
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 36 of 100




       29.    A short time after Ms. Dunn’s report, APP summarily terminated Ms. Dunn’s

employment.

       30.    APP has refused—and continues to refuse—to provide calculations showing

the basis for and calculations of her compensation.

       31.    APP has claimed to have “reason to believe” Ms. Dunn violated certain

restrictive covenants but has failed to provide any evidence of those allegations.

       32.    Upon information and belief, Defendants did not keep records of hours Ms.

Dunn worked.

       33.    APP paid Ms. Dunn less than the mandatory minimum wage for, at a

minimum, the first month of Ms. Dunn’s employment.

       34.    APP has made vague legal threats to Ms. Dunn and the group with which she

plans to provide care as an independent contractor.

       35.    Multiple patients have informed Ms. Dunn that they need prescription refills,

but they are not able to get them because APP refuses to authorize refills unless those

patients come in for an appointment that is not available until after they run out of

medication.

       36.    APP has blamed Ms. Dunn for patient confusion although APP failed to

comply with its contractual obligation to provide patients with a letter informing them of

Ms. Dunn’s departure, and for weeks after her departure her name, biography, and image

were still on APP’s website.




                                             5
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 37 of 100




Contractual Language

       37.      The alleged restrictive covenants in the Employment Agreement are stated

in several contradictory ways.

       38.      However, APP relies upon a provision without any geographic or practice

scope limitations:

                Employee further agrees that, for a period of six months,
                measured from the date of Employee’s separation from
                employment with Employer, Employee shall not, for any
                reason, without written consent by Employer, either personally
                or through or on behalf of another entity or individual, solicit
                or offer or provide service to any patient . . . .

Employment Agreement, p. 5, ¶ 9.

       39.      APP relies upon this provision in its cease and desist letter to Ms. Dunn.

       40.      Two other provisions purport to apply to Ms. Dunn if her employment is

involuntarily terminated, but the provision APP seeks to enforce does not apply in that

circumstance.

       41.      The contract provides as follows:

                Employee further understands that Employer shall write an
                official letter to patients informing them of the Employees [sic]
                separation from the group and that the Employee will have the
                opportunity to co-sign the letter.

Employment Agreement, p. 6, ¶ 10.

       42.      Not only did APP not comply with this provision, but its agents also attacked

and blamed Ms. Dunn for the resulting patient confusion.




                                               6
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 38 of 100




       43.    Instead of complying with the terms of the Employment Agreement, APP

forced Ms. Dunn to expend many hours of unpaid work informing patients individually of

her departure.

       44.    Ms. Dunn offered APP the opportunity to provide evidence that it complied

with the Employment Agreement, and APP again declined.

       45.    APP appears to be concerned that Ms. Dunn has responded to patient

inquiries regarding where she now plans to practice, but APP had declined to clarify what

evidence it has of any conduct even potentially violative of the Employment Agreement.

       46.    Ms. Dunn invited APP to provide any legal authority that responding to

patient inquiries could ever constitute improper competition or solicitation, even assuming

an enforceable noncompete, and APP has not provided any.

Personnel Records

       47.    Ms. Dunn has demanded a copy of her personnel records in accordance with

Minnesota law.

       48.    To date, Ms. Dunn’s personnel records have not been provided to her.

Demand for Payment of Wages

       49.    Ms. Dunn has demanded in writing payment of all earned unpaid wages.

       50.    To date, APP has refused to provide Ms. Dunn a calculation of her wages or

any payment of those wages yet unpaid.

Underpayment

       51.    Even based upon APP’s illegal proposed compensation model, APP

underpaid Ms. Dunn.


                                            7
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 39 of 100




       52.    For example, her commissions in the first quarter of 2021 appear to her to be

significantly less than would be required, given her treatment of patients in the final quarter

of 2020.

       53.    Despite Ms. Dunn’s request, APP has not provided the financial records

showing the computation of Ms. Dunn’s compensation.

       54.    At a minimum, Ms. Dunn worked for the first two months of her employment

with almost no compensation.

       55.    In addition, APP has not paid Ms. Dunn for the last month of her work.

       56.    Notably, this period of time included many hours of “transition” work that

could not have been compensated by fee sharing even if APP had properly compensated

her with fee sharing.

       57.    The Employment Agreement indicates that Ms. Dunn would not be paid for

much of her work performed over three full months because she did not give notice of her

termination and APP had not yet been paid by patients or third-party payors:

              Employee shall continue to receive payments on receivables
              for ninety (90) days following the Employee’s last date of
              employment on the following conditions: a) Employee has
              timely submitted the charge slips as described in paragraph #3
              above; and b) Employee has given Employer ninety (90) days’
              notice. Should the conditions of a through herein [sic] not
              be complied with, Employee acknowledges and agrees that
              she shall be paid only up to and including Employee’s last
              day of employment, and only for prior billed and/or
              collected receipts as described in paragraph #3 above.
              Employee agrees that any receivables still outstanding for
              services after last day of employment and past the 90-day
              period shall go towards Employer’s recouping costs associated
              with advertising and hiring a new Employee.



                                              8
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 40 of 100




Employment Agreement, p. 6, ¶ 10 (emphasis added).

       58.     This provision conditions payment upon the application of “paragraph #3,”

which does not exist, and then only allows for payment of “billed and/or collected

receipts[.]”

       59.     Because APP has not provided any additional compensation or

documentation regarding Ms. Dunn’s compensation, presumably it believes this provision

overrides Minnesota law.

       60.     While it has not said so expressly, APP apparently relies upon this provision

for its refusal to compensate Ms. Dunn for work performed toward the end of her

employment.

       Wrongful Termination/Whistleblower Violation/Violation of MHRA

       61.     Ms. Dunn demanded information regarding her billing and wages and was

only once provided any such information.

       62.     Ms. Dunn made this demand in January of 2021 and was provided with

incomplete information.

       63.     APP refused to provide the information, claiming Ms. Dunn had already been

provided with the information.

       64.     APP did not explain why, even if that were true, Ms. Dunn would not be

allowed to review a second copy of the information she needed to accurately bill patients.

       65.     In early June 2021 the CEO of APP, Seth Franz, sent an email requesting to

meet individually with the providers on a quarterly basis to better get to know the providers.

       66.     Ms. Dunn scheduled a meeting with him for July 9, 2021.


                                              9
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 41 of 100




       67.    On July 1, 2021, Ms. Dunn had a pre-scheduled meeting with the clinical

manager.

       68.    At that meeting, Ms. Dunn complained that she needed additional

information regarding how to code her billing properly.

       69.    The clinical manager asked if Ms. Dunn was suggesting that the billing was

fraudulent, and Ms. Dunn indicated she was not sure because she had not been provided

with the requested information.

       70.    At that meeting, APP criticized Ms. Dunn’s work for the first time, and,

asked what APP could do to support her work.

       71.    Ms. Dunn indicated that, while she did not agree with the criticisms, she had

been having difficulty concentrating.

       72.    On July 7, 2021, Ms. Dunn disclosed in writing to her supervisor, Melanie

Heu, that she had recently been tested for ADHD because she was having symptoms of

distraction, forgetfulness, making mistakes, etc.

       73.    The same day, Ms. Heu acknowledged the message and discussed with Ms.

Dunn her “symptoms.”

       74.    Ms. Heu did not tell Ms. Dunn that a decision had been made to terminate

Ms. Dunn’s employment.

       75.    Ms. Dunn met with Mr. Franz on July 9, 2021 as scheduled.

       76.    At that meeting, APP terminated Ms. Dunn’s employment.

       77.    APP engaged in no interactive process to address whether Ms. Dunn had a

disability or how APP could accommodate her.


                                            10
        CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 42 of 100




        78.   APP then interfered with Ms. Dunn’s right to treat any patients.

        79.   As a result of Defendants’ actions, Ms. Dunn has suffered severe mental

anguish and distress.

The Individual Parties

        80.   Seth Franz is, and at all relevant times was, APP’s CEO. As APP’s CEO, he

served on the leadership group that purportedly decided to terminate Ms. Dunn and told

Ms. Dunn she had been terminated.

        81.   Mr. Franz also served, during at least some of the time that Ms. Dunn worked

at APP, as APP’s director of operations, human resources manager, and compliance officer.

In these capacities, he calculated Ms. Dunn’s wages, and arranged for her to be paid. He

did that work in the interest of APP in relation to Ms. Dunn.

        82.   Priyanka Rao is APP’s owner and chief clinical officer. As APP’s owner and

chief clinical officer, she served on the leadership group that purportedly decided to

terminate Ms. Dunn. She also had operational control over clinical activities such as the

ones in which Ms. Dunn was engaged. She acted in the interest of APP in relation to Ms.

Dunn.

        83.   Upon information and belief, Defendants Does 3–5 were also employers of

Ms. Dunn or were joint employers of Ms. Dunn.

        84.   Upon information and belief, Defendants Does 6–10 are APP’s owners,

agents or otherwise liable for the acts and omissions alleged in this Complaint.

        85.   Upon information and belief, Defendants Does 11–15 were also employers

of Ms. Dunn or were joint employers of Ms. Dunn.


                                            11
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 43 of 100




       86.     Upon information and belief, Defendants Does 16–20 are APP’s owners,

agents or otherwise liable for the acts and omissions alleged in this Complaint.

                                           CLAIMS

                                       COUNT I
                               DECLARATORY RELIEF
                           Uniform Declaratory Judgments Act
                               Minn. Stat. § 555.01, et seq.
                                (Against Defendant APP)

       87.     Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       88.     As described in detail above, a present and judiciable controversy has arisen

between the parties with regard to the Employment Agreement.

       89.     APP has contended that various alleged restrictive covenants are binding and

enforceable and prevent Ms. Dunn from seeing any patients.

       90.     Specifically, through its counsel, APP wrote to Ms. Dunn on August 11, 2021

contending that the Employment Agreement “provides that during your employment with

APP and for six months thereafter you ‘shall not, for any reason without written consent

by [APP], either personally or through or on behalf of another entity or individual, solicit

or offer or provide service to any patient . . . .’”

       91.     APP’s counsel further threatened “APP has authorized us to take any and all

measures, including legal action, to protect it from further harm and to compensate it for

any damages[]” and threatened “the imminent potential for litigation . . . .”




                                               12
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 44 of 100




       92.    The alleged restrictive covenants are not enforceable against Ms. Dunn for

several reasons, including lack of consideration, failure of consideration, material breach,

unclean hands, illegality, overbreadth, and ambiguity.

       93.    Nurse practitioners are not exempt employees for wage payment purposes

unless they satisfy both the primary duties and the salary basis test.

       94.    Because an agreement to pay an employee solely on a revenue basis is illegal,

any reciprocal obligations on the part of the employee are also illegal and unenforceable.

       95.    Ms. Dunn requests a declaration from this Court that the purported restrictive

covenants are not enforceable.

                                       COUNT II
                               BREACH OF CONTRACT
                                (Against Defendant APP)

       96.    Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       97.    The Employment Agreement exists between Ms. Dunn and APP as

enforceable against APP because, to the extent the Employment Agreement provides for

greater rights or compensation than would otherwise be legally required, such standards

are incorporated into the legal compensation to be paid by statute and such contractual

provisions are severable from the illegal or unenforceable provisions of the Employment

Agreement pursuant to ¶ 17 of the Employment Agreement.

       98.    The illegality of the compensation provision does not save an employer from

paying the agreed-upon higher compensation if it is higher than would otherwise be

provided by law.


                                              13
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 45 of 100




       99.    APP’s actions and omissions, as more fully described above, breached the

Employment Agreement including, without limitation, failure to pay Ms. Dunn’s wages at

the agreed upon rate and failure to properly advise patients of the end to Ms. Dunn’s

employment.

       100.   All conditions precedent to APP’s performance under the contact have been

met.

       101.   Ms. Dunn has suffered damages as a result of the breach of contract.

                           COUNT III
    BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
                     (Against Defendant APP)

       102.   Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       103.   Each contract in the State of Minnesota includes an implied covenant to act

in good faith and deal fairly with other parties to the contract.

       104.   APP’s actions, as more fully detailed above, breached its duty to perform

under the contract addressed in Count II and to deal fairly with Ms. Dunn, including its

refusal to notify patients of Ms. Dunn’s departure, as required by the contract, then faulting

her for the resulting patient confusion.

       105.   Upon information and belief, APP intentionally miscalculated Ms. Dunn’s

compensation.

       106.   APP failed—and continues to fail—to provide any support for its

calculations of Ms. Dunn’s compensation.




                                              14
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 46 of 100




       107.   Ms. Dunn has suffered damages as a result of those breaches, including

earned but unpaid compensation.

                              COUNT IV
         VIOLATION OF MINNESOTA FAIR LABOR STANDARDS ACT
                       Minn. Stat. § 177.21, et seq.
                        (Against All Defendants)

       108.   Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       109.   Minnesota law requires that any employee not exempt under the Minnesota

Fair Labor Standards Act (“MFLSA”) or paid on a piece rate basis be compensated on an

hourly wage basis and paid a premium for any hours in excess of 48 worked in a workweek

based upon the employee’s “regular rate of pay” which may or may not be the employee’s

direct hourly wage.

       110.   APP and, as individuals who acted in APP’s interest in relation to Ms. Dunn,

Mr. Franz and Dr. Rao, qualify as employers pursuant to Minnesota law, including Minn.

Stat. § 177.23, subd. 6.

       111.   Upon information and belief, Does 3–5 and Does 11–15 are defined as

“employers” pursuant to Minn. Stat. §177.23, subd. 6 and are also liable for any unpaid

compensation.

       112.   Defendants failed to compensate Ms. Dunn on an hourly wage basis with a

premium for hours worked in excess of 48 in a workweek.

       113.   Ms. Dunn has suffered damages as a result of Defendants’ violations of the

MFLSA.



                                              15
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 47 of 100




       114.   Ms. Dunn is entitled to recover her attorney fees and costs incurred in

remedying APP’s violations of the MFLSA.

                               COUNT V
           VIOLATION OF MINNESOTA PAYMENT OF WAGES ACT
                           Minn. Stat. § 181.13
                         (Against All Defendants)

       115.   Minn. Stat. § 181.13(a) provides, in relevant part, as follows:

              Wages are actually earned and unpaid if the employee was not
              paid for all time worked at the employee’s regular rate of pay
              or at the rate required by law, including any applicable statute,
              regulation, rule, ordinance, government resolution or policy,
              contract, or other legal authority, whichever rate of pay is
              greater.

       116.   Minn. Stat. § 181.13(a) further provides as follows:

              When any employer employing labor within this state
              discharges an employee, the wages or commissions actually
              earned and unpaid at the time of the discharge are immediately
              due and payable upon demand of the employee. Wages are
              actually earned and unpaid if the employee was not paid for all
              time worked at the employee's regular rate of pay or at the rate
              required by law, including any applicable statute, regulation,
              rule, ordinance, government resolution or policy, contract, or
              other legal authority, whichever rate of pay is greater.

       117.   The agreement pleaded in Count II constitutes a contract, and Ms. Dunn is

entitled to the highest promised compensation.

       118.   APP has failed to pay Ms. Dunn all of her earned wages despite receiving a

written demand.

       119.   Ms. Dunn has suffered damages as a result of APP’s violation of the statute.

       120.   Minn. Stat. § 181.171 authorizes a civil action for a violation of Minn.

Stat. § 181.13.


                                             16
      CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 48 of 100




      121.   Ms. Dunn is entitled to recover her earned, unpaid wages as well as a penalty

consisting of an amount equal to 15 days of her average daily earnings.

      122.   Ms. Dunn is entitled to an award of attorney fees and costs with regard to the

demand and recovery of unpaid wages.

                              COUNT VI
    VIOLATION OF THE MINNESOTA WAGE THEFT PREVENTION ACT
                 Minn. Stat. §§ 177.30, 181.032, 181.101
                       (Against All Defendants)

      123.   The Minnesota Wage Theft Prevention Act was enacted to prevent exactly

the type of conduct APP has engaged in. Specifically, Minnesota law requires that new

employees receive detailed wage disclosure information, including information regarding

wage payment, to be disclosed at the beginning of the employment relationship to help

avoid wage and hour violations:

             (d) At the start of employment, an employer shall provide
             each employee a written notice containing the following
             information:

                    (1) the rate or rates of pay and basis thereof,
                        including whether the employee is paid by the
                        hour, shift, day, week, salary, piece, commission,
                        or other method, and the specific application of
                        any additional rates;
                    (2) allowances, if any, claimed pursuant to permitted
                        meals and lodging;
                    (3) paid vacation, sick time, or other paid time-off
                        accruals and terms of use;
                    (4) the employee’s employment status and whether
                        the employee is exempt from minimum wage,
                        overtime, and other provisions of chapter 177,
                        and on what basis;
                    (5) a list of deductions that may be made from the
                        employee’s pay;



                                           17
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 49 of 100




                     (6) the number of days in the pay period, the regularly
                         scheduled pay day, and the pay day on which the
                         employee will receive the first payment of wages
                         earned;
                     (7) the legal name of the employer and the operating
                         name of the employer if different from the legal
                         name;
                     (8) the physical address of the employer’s main office
                         or principal place of business, and a mailing address
                         if different; and
                     (9) the telephone number of the employer.

              (e) The employer must keep a copy of the notice under
              paragraph (d) signed by each employee acknowledging
              receipt of the notice. The notice must be provided to each
              employee in English. The English version of the notice must
              include text provided by the commissioner that informs
              employees that they may request, by indicating on the form,
              the notice be provided in a particular language. If requested,
              the employer shall provide the notice in the language requested
              by the employee. The commissioner shall make available to
              employers the text to be included in the English version of the
              notice required by this section and assist employers with
              translation of the notice in the languages requested by their
              employees.

              (f) An employer must provide the employee any written
              changes to the information contained in the notice under
              paragraph (d) prior to the date the changes take effect.

Minn. Stat. § 181.032(d)–(f) (emphasis added).

       124.   APP never provided the required notice.

       125.   Ms. Dunn requested that APP provide a copy of the notice signed by Ms.

Dunn, and APP has not done so.

       126.   APP also violated Minnesota law with respect to providing Ms. Dunn earning

statements. Specifically, the following is required:




                                             18
      CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 50 of 100




             (a) At the end of each pay period, the employer shall provide
                 each employee an earnings statement, either in writing or
                 by electronic means, covering that pay period. An employer
                 who chooses to provide an earnings statement by electronic
                 means must provide employee access to an employer-
                 owned computer during an employee's regular working
                 hours to review and print earnings statements.

             (b) The earnings statement may be in any form determined by
                 the employer but must include:

                (1) the name of the employee;

                (2) the rate or rates of pay and basis thereof, including
                    whether the employee is paid by hour, shift, day,
                    week, salary, piece, commission, or other method;

                (3) allowances, if any, claimed pursuant to permitted meals
                    and lodging;

                (4) the total number of hours worked by the employee
                    unless exempt from chapter 177;

                (5) the total amount of gross pay earned by the employee
                    during that period;

                (6) a list of deductions made from the employee’s pay;

                (7) the net amount of pay after all deductions are made;

                (8) the date on which the pay period ends;

                (9) the legal name of the employer and the operating name
                    of the employer if different from the legal name;

                (10)      the physical address of the employer’s main
                   office or principal place of business, and a mailing
                   address if different; and

                (11)      the telephone number of the employer.


Minn. Stat. § 181.032(a) (emphasis added).




                                             19
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 51 of 100




       127.   Ms. Dunn’s earning statements do not comply with the law, failing at least

in the areas noted above in boldface text.

       128.   The Employment Agreement provides that APP will deduct from pay a

portion of its MinnesotaCare Provider Tax from Ms. Dunn’s wages.

       129.   Ms. Dunn’s earning statements do not indicate any deductions for that

purpose, which means that deductions were taken without proper notice.

       130.   Minnesota law further required APP to keep detailed records of Ms. Dunn’s

compensation:

              (a)    Every employer subject to sections 177.21 to 177.44
              must make and keep a record of: (1) the name, address, and
              occupation of each employee; (2) the rate of pay, and the
              amount paid each pay period to each employee; (3) the hours
              worked each day and each workweek by the employee,
              including for all employees paid at piece rate, the number of
              pieces completed at each piece rate; (4) a list of the personnel
              policies provided to the employee, including the date the
              policies were given to the employee and a brief description of
              the policies; (5) a copy of the notice provided to each employee
              as required by section 181.032, paragraph (d), including any
              written changes to the notice under section 181.032, paragraph
              (f);

Minn. Stat. § 177.30.

       131.   Upon information and belief, APP did not keep such records.

       132.   APP has refused to provide Ms. Dunn with any such records.

       133.   The Minnesota Wage Theft Prevention Act provides as follows:

              (a) Except as provided in paragraph (b), every employer must
              pay all wages, including salary, earnings, and gratuities earned
              by an employee at least once every 31 days and all
              commissions earned by an employee at least once every three
              months, on a regular payday designated in advance by the


                                             20
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 52 of 100




              employer regardless of whether the employee requests
              payment at longer intervals. Unless paid earlier, the wages
              earned during the first half of the first 31-day pay period
              become due on the first regular payday following the first day
              of work. If wages or commissions earned are not paid, the
              commissioner of labor and industry or the commissioner's
              representative may serve a demand for payment on behalf of
              an employee. In addition to other remedies under section
              177.27, if payment of wages is not made within ten days of
              service of the demand, the commissioner may charge and
              collect the wages earned at the employee's rate or rates of pay
              or at the rate or rates required by law, including any applicable
              statute, regulation, rule, ordinance, government resolution or
              policy, contract, or other legal authority, whichever rate of pay
              is greater, and a penalty in the amount of the employee's
              average daily earnings at the same rate or rates for each day
              beyond the ten-day limit following the demand. If payment of
              commissions is not made within ten days of service of the
              demand, the commissioner may charge and collect the
              commissions earned and a penalty equal to 1/15 of the
              commissions earned but unpaid for each day beyond the ten-
              day limit. Money collected by the commissioner must be paid
              to the employee concerned. This section does not prevent an
              employee from prosecuting a claim for wages. . . . For purposes
              of this section, wages are earned on the day an employee
              works. This section provides a substantive right for employees
              to the payment of wages, including salary, earnings, and
              gratuities, as well as commissions, in addition to the right to be
              paid at certain times.

Minn. Stat. § 181.101.

       134.   APP failed to pay Ms. Dunn in accordance with this statute.

       135.   Despite demand, APP has refused to pay Ms. Dunn pursuant to this statute.

Ms. Dunn is entitled to a penalty for this failure pursuant to Minn. Stat. § 181.101.

       136.   Ms. Dunn is entitled to an award of attorney fees and costs with regard to the

demand and recovery of unpaid wages.




                                             21
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 53 of 100




       137.   Upon information and belief, Does 3–5 and Does 11–15 are joint employers

of Ms. Dunn and are also liable for failing to properly pay Ms. Dunn

       138.   Upon information and belief, Does 6–10 are owners of APP and are also

liable for APP’s failure to pay Ms. Dunn properly.

                                     COUNT VII
                                UNJUST ENRICHMENT
                                (Against All Defendants)

       139.   Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       140.   Ms. Dunn pleads this Count in the alternative to Counts II and III.

       141.   Ms. Dunn performed labor for APP and to the benefit of all Defendants, but

Ms. Dunn has not been fully paid for her labor.

       142.   All Defendants have been unjustly enriched through their interests in APP’s

profits by retaining wages earned by Ms. Dunn.

       143.   Injustice would result if Defendants were allowed to retain this benefit.

       144.   Accordingly, Defendants should be required to pay to Ms. Dunn the wages

she has earned.

                                      COUNT VIII
                                  QUANTUM MERUIT
                                 (Against All Defendants)

       145.   Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       146.   Ms. Dunn pleads this Count in the alternative to Counts II and III.




                                              22
         CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 54 of 100




         147.   Ms. Dunn performed labor for APP and to the benefit of all Defendants, but

Ms. Dunn has not been fully paid for her labor.

         148.   The reasonable value of the labor Ms. Dunn provided greatly exceeded the

compensation she received.

         149.   As detailed more fully above, at times, Ms. Dunn received no payment for

her labor.

         150.   Ms. Dunn reasonably expected to be paid for the reasonable value of her

labor.

         151.   Injustice would result if Defendants are not required to compensate Ms.

Dunn for the reasonable value of her labor.

         152.   Accordingly, Defendants should be required to pay to Ms. Dunn the wages

she has earned.

                             COUNT IX
          WRONGFUL TERMINATION/WHISTLEBLOWER VIOLATION
                         Minn. Stat. § 181.932
                       (Against Defendant APP)

         153.   Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

         154.   The Minnesota Whistleblower Act provides:

                Prohibited action. An employer shall not discharge, discipline,
                threaten, otherwise discriminate against, or penalize an
                employee regarding the employee’s compensation, terms,
                conditions, location, or privileges of employment because:

                (1) the employee, or a person acting on behalf of an employee,
                in good faith, reports a violation, suspected violation, or
                planned violation of any federal or state law or common law or


                                              23
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 55 of 100




              rule adopted pursuant to law to an employer or to any
              governmental body or law enforcement official;

              (2) the employee is requested by a public body or office to
              participate in an investigation, hearing, inquiry;

              (3) the employee refuses an employer’s order to perform an
              action that the employee has an objective basis in fact to
              believe violates any state or federal law or rule or regulation
              adopted pursuant to law, and the employee informs the
              employer that the order is being refused for that reason;

              (4) the employee, in good faith, reports a situation in which the
              quality of health care services provided by a health care
              facility, organization, or health care provider violates a
              standard established by federal or state law or a professionally
              recognized national clinical or ethical standard and potentially
              places the public at risk of harm;

                                            ...

Minn. Stat. § 181.932, subd. 1.

       155.   Ms. Dunn made good faith reports that she believed she was given

incomplete information regarding billing codes and demanded additional information.

       156.   Ms. Dunn made expressed good faith concerns that her compensation was

not being properly calculated.

       157.   Shortly after Ms. Dunn’s report, APP terminated Ms. Dunn’s employment.

       158.   APP’s termination of Ms. Dunn’s employment was motivated at least in part

by her complaints of improper billing and failure to account for and pay her compensation.

       159.   Ms. Dunn has suffered damages as a result of APP’s retaliatory termination,

including past and future lost wages and benefits and the costs of bringing this action.




                                             24
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 56 of 100




                                  COUNT X
                 FAILURE TO PROVIDE PERSONNEL RECORDS
                             Minn. Stat. § 181.961
                           (Against Defendant APP)

       160.   Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       161.   Ms. Dunn demanded that APP provide her a copy of her personnel records.

       162.   More than seven working days have elapsed since Ms. Dunn’s request, and

APP has provided no personnel records.

       163.   Ms. Dunn incurred damages including attorney fees as a result of APP’s

refusal to provide copies of Ms. Dunn’s personnel records.

                           COUNT XI
 VIOLATION OF THE FEDERAL FAIR LABOR STANDARDS ACT (“FLSA”)
                     (Against All Defendants)

       164.   Ms. Dunn incorporates the allegations in the preceding paragraphs as if the

same were fully set forth herein.

       165.   The FLSA requires covered employers to pay non-exempt employees no less

than one-and-one-half times their regular rate of pay for all hours worked in excess of forty

hours in a workweek. 29 U.S.C. § 207.

       166.   APP and, as individuals who acted in APP’s interest in relation to Ms. Dunn,

Mr. Franz and Dr. Rao, qualify as employers pursuant to 29 U.S.C. § 203(d).

       167.   Defendants are an “enterprise” as defined by the FLSA, 29 U.S.C. §

203(r)(1), and are engaged in commerce within the meaning of the FLSA, § 203(b), (s)(1).




                                              25
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 57 of 100




       168.   Upon information and belief, Does 3–5 and Does 11–15 are joint employers

of Ms. Dunn and are also liable for failing to properly pay Ms. Dunn

       169.   Upon information and belief, Does 6–10 are owners of APP and are also

liable for APP’s failure to pay Ms. Dunn properly.

       170.   Ms. Dunn is a non-exempt covered employee under 29 U.S.C. § 203(e)(1).

       171.   Ms. Dunn has worked more than forty hours per week for Defendants during

the applicable time period.

       172.   Defendants have not properly compensated Ms. Dunn for their overtime

hours as required by the FLSA.

       173.   Defendants failed to make a good-faith effort to comply with the FLSA as it

relates to the compensation of Ms. Dunn.

       174.   Defendants knew Ms. Dunn worked overtime without proper compensation,

and they willfully failed and refused to pay Ms. Dunn wages at the required overtime rates.

See 29 U.S.C. § 255.

       175.   Defendants’ willful failure and refusal to pay Ms. Dunn overtime wages for

time worked violates the FLSA. 29 U.S.C. § 207.

       176.   Defendants failed to make, keep, and preserve records with respect to each

of its employees sufficient to determine their wages, hours, and other conditions of

employment, in violation of the FLSA, 29 U.S.C. § 255(a).

       177.   Ms. Dunn has been damaged by Defendants’ willful violations of the FLSA

and has suffered a loss of income and other damages.




                                            26
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 58 of 100




       178.    Ms. Dunn is entitled to liquidated damages and attorney fees and costs

incurred as a result of this claim.

                                   COUNT XII
                         FAILURE TO TIMELY PAY WAGES
                               Minn. Stat. § 181.101
                                 (Defendant APP)

       179.    Ms. Dunn incorporates the allegations in the preceding paragraphs as if the

same were fully set forth herein.

       180.    During the course of Ms. Dunn’s employment, Defendant APP regularly

failed to pay Ms. Dunn within 31 days of the date the wages were owned.

       181.    More than 10 days have passed since Ms. Dunn has demanded her earned but

unpaid wages.

       182.    Ms. Dunn has been damaged by Defendant’s APP failure to timely pay her

earned wages.

       183.    Ms. Dunn is entitled to damages in the amount of her unpaid wages, as well

as applicable statutory penalties for Defendant APP’s failure to timely pay wages, as well

as attorney fees and costs incurred as a result of this claim.

                                 COUNT XIII
              VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT
                          Minn. Stat. 363A.01, et seq.
                            (Against All Defendants)

       184.    Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       185.    Ms. Dunn was and is qualified to work in her position with APP.

       186.    Ms. Dunn informed APP that she had been recently tested for ADHD.


                                              27
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 59 of 100




       187.   APP regarded Ms. Dunn as a person with a disability.

       188.   APP terminated Ms. Dunn at least in part as a result of its regarding her as a

person with a disability.

       189.   APP’s proffered reasons for terminating Ms. Dunn’s employment is not

worthy of credence because, despite claiming to have documentation of its alleged bases,

it did not provide those as part of Ms. Dunn’s personnel records and may not rely upon

them—if they exist—pursuant to Minn. Stat. § 181.963.

       190.   Accordingly, Ms. Dunn has been damaged on the basis of the actions taken

by APP to discriminate against her employment on the basis of disability.

                                     COUNT XIV
                               PROMISSORY ESTOPPEL
                                (Against All Defendants)

       191.   Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       192.   Ms. Dunn pleads this Count in the alternative to Counts II and III.

       193.   APP made a clear and definite promise to pay Ms. Dunn on the basis set forth

in the employment agreement.

       194.   APP, as the promisor, intended to induce reliance, and Ms. Dunn, as the

promise, in fact relied on the promise to her detriment.

       195.   In the absence of an adequate remedy at law, the promise must be enforced

to prevent injustice.

       196.   Ms. Dunn has suffered damages as a result of APP’s failure to fulfill its

promise.


                                              28
       CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 60 of 100




                              REQUEST FOR RELIEF

      Plaintiff, Sheila M. Dunn, requests that the Court:

      1.     Enter judgment in her favor and against Defendants for each of the claims

asserted in this Complaint;

      2.     Declare the noncompete/nonsolicit restrictive covenants contained in the

Employment Agreement to be unenforceable;

      3.     Enjoin Defendants and anyone acting on their behalf from attempting to

enforce the noncompete/non-solicit restrictive covenants contained in the Employment

Agreement or threatening Plaintiff or any third party with any enforcement action;

      4.     Enter judgment in favor of Ms. Dunn and against APP, Mr. Franz, Dr. Rao,

and Does 3–20 jointly and severally in an amount greater than $50,000, to include

compensatory damages, to include front and back pay;

      5.     Award Ms. Dunn liquidated damages for unpaid wages;

      6.     Award Ms. Dunn the full statutory penalties for failure to timely pay wages;

      7.     Award Ms. Dunn her legal expenses, including attorney fees, costs, and

disbursements; and




                                           29
     CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 61 of 100




     8.   Award all other relief the court deems just and equitable.


Dated: ______________, 2022               GODWIN DOLD

                                          /s/
                                          James A. Godwin, #392020
                                          Rick A. Dold, #394847
                                          300 1st Ave. NW, Suite 306
                                          Rochester, MN 55901
                                          Telephone: 507-218-8383
                                          james@godwindold.com
                                          rick@godwindold.com

                                          ATTORNEYS FOR PLAINTIFF




                                        30
      CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 62 of 100



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                  ASSOCIATES IN :PSYCHIATRY AND PSYC~~LOGY,"P. A.


                                   .EMPLOYMENT.AG~EEMENT


This Agreement_is. Jl1.ll;de and.enter~ int~ by an_d between ·Assocfates in Psychiatry arid Psycho.logy, p ,A.
(h~inafter referred to as·''Employer'-') aod Sheila Ounn         01ereinai\er referred·to as ''Employee'').




 A.       SIPployee -is an appropriately q~alified -profes&iomd and bas_ co.m,pleted aJl updates,to
          maintain licensing and education and to•pi:actice at the higpest ethical,.clinicaland.other
          relevant standards; and Empk>yee has repr~ented all h~ qualificatio~ and b~_kground.
          factprs-fo a ttudiful aitc;l a~l!J~ ·inaru;ier ·to Employer,

 B.       Employet is a well~stablished Professiohal-Association providing vario.us mental !j.ealth
          services for patients and org~zations in Farib~ult, Roch~Sler aJJ.d·-southeastern
          Minnesota.                                                             ·      · ·

 C.       Etn.P.f!)y~r and Employee wi~h tQ enter. into•Ill). 'at will' eniplqyi:nent arrangement: anti this
          Agreement provides the purpose. terms and·conditions'un:der which the.pardes·viI1i
          c;onduct their employment relationship.


                                             II. AGREEMENT

            In consideration of the reci~    stated above.and th.e I1lutual promises made below, the
 parti•es. agree -as °follows~

 L    Term ofJJDploymen._ Employ~ specifipally ~cknowledge·s.·'l)~de~.~d~ &Ad agrc;.el! .t h~.
      th:e ·.el'nploymenf actch:~-ed in this contract js ''.en~pfoyment at wil1'1, and means that Em~loyee
      has not J~een hired for·any definit~ perio(fofemployDJ.~nt, l.\Dd that ~ith~r 'Employ.er ·o r
      Bmploye~ may.term,inate theit employment relationship at any time;·for my.-r.easo~ wi61 or
      without caµse, not.ice or·prlot.diseipline. Employee further understands.:and specincally
      aclmowledges ·and.agrees ·that nQ offer~. proIQi.ses, guarant.ees or repre~~ntations,of
      emP,loymeni.or fiif ~ts t~1s or ~onditions or. di,injtion have been·.made to Employee other than
      what is·written here, and-that- Employer· makes no such offers. promises, guarantees or
      rep~esentati.on$ 'to.Empl9.ye.e ·other than what.is.written her¢; furthe.r, itiat arno-iime ·sliall
      Employer ancl. Etnployee'·s·relatfoiiship:be construed to afford Emi:iloy~e-any nghts·other toon;
      what is ll!)'ecifically addressed in this. conira-et. Employee shall co,gimen~ worki;lg for
      ExnpJoy~ 11$ 8: pra(#itioner                  2020.

      Des.cription ,t tf E~ployine_-~1t. Employ.eei.s.erilploycd for the·purpoii'e of PJ"O.Yidip'g
      psychiatrie·servi~s .for patients.-i n line Y.itli the expectatjons s.etforth m. this ~greement_In
      some ~~e.s ,'En+ployee sbaU provi.de su~h··services for J?atients referred by Emplhyet and, ·in
      other C&\Ses~ for patients-acquired by ·Employtc. Employeeu,nderstands ~d agi:e~~ th.at·all



                                               Exhibit 1
                          CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 63 of 100



                                                                                                                               2

                            pati~ts-are patients ofAsso¢iates i.n.Psychiacy and Psychology;_P-.A,, (APP}~ Employer
                            and not ofBmplqyee individually. Employee specifically represents. to·Employer and agrees
                            that he .shall mafntain thprougb.and·up-to
                                                             .            date el~ctronic hea,lth·records of ~hervi~s,f<;>r.
                            ea~h _iq,pointment ~d $~rvice p_rovi~ed and shall ensure.that the billing 4ePartm.'ent receives
                            all of EmQfoyee's daily charge slips promptly..Employer provides-training on use··of"the EHR
                            system.and retains a se~ice to troubles.hoot any problems withl:he recorcls system. Employer
                            will-provt9e a computer for -b~siness 11$age. Emptoyer- will provide ~p.PQin.tm~nt s_~heduUng,
                            appointinent.confirmati:op..calls; ihsurance v~rification, billing_ $ervices,-CQllection services..
                            prior authorit.ation .updates; _provider..network updates,. insurance network .credentialing;
                            calculation anci.;gµbmission of Employee's portion-of ih_e Minnesota·C~ taxes, r~ptionjst
                            duti~s, mai~ ~nning and. f~ proc~ss_ing, .P~tient remind~r.call~.or-texts. file manageinertt,
                            ~ t deposi_t payc4ecks and month_      ty provider. arid•adnihtls:tr~th,:c-reports, Ali faciliti.C$
                            manag~ent such as snow plowing, building maintenance, lawn maintenance; .office
                            cleaning, eoff~ and tea .service are·pr<,vi®d by. Et;npioy~.. EmplClyer also proviq.es·all
                            fµrnisbing ~d de~rations· fot.Employe~•s .office. Employer will provide~-- medical.assistant
                            to.Employee-with.duties ddined·by EmJ?loyees)mwtice_.need's.               -          ·

                            ~pfoycc fu.rthcr I.Jilderst~ds and agrees thaJ. if-11t.anftitne Empl9y.ee has q~estions or
                            conc·erns as·to·the·sul>stance or.procedure:involved in.an:y.'services referred 10 .herein,
                            Employee .shall promptly raise such questions oi: concell)S With fu~ prqvid_e r relations.
                            man~ger.
                           Compensadon. The parties agree that, as for coiµpeJ1Satipnemploy~ witl be p~id spcty
                           (60%) ofcollected r@eivables, which shall be understood to be those p!i,~erits irlready
                           collected and-listed as '.payments' on the Monthly ·Provider Summary Report prepared by-
                           Employ~~-s Qilliqg d.epartm~t.~dappro:v~ by.Employer) on .t he teyen'Q~ tha1 .EmptQyee
                           pe!Spna;lly generates.for APP pei: mol)th fot each specific mont)l. lessall applicabfe focal.-_
                           state and-Jederal withholdings, or other deductions employee wishes to--take:(exampl~: set-
                           asides for health ~vi.Q.~ .account. medi.oal·or-rettre_m~nt savings accp_unts). Emplby~e-
                           a_gree1r tb.at payment shall be m:ade_by Employer to Employee (on:lirectly deposited by
                           Employer to Employee;·s pers_onal.bank ~ccount), e_very ~ther Friday based on.the -pri9r:
                           period~s re..ceipts and Employe~ shall sign alJ-appropriaie forms tn a timely manner to·
                           facilitate_wiyment. Should"th~e be a holi_d ay on on~ ofthese dat_es, ·pay~eck$ will b~
                           deposited th.e following-:business·day. Employee further und_erstands that-till case notes
                           must ·be completed-in order to·bi1l for the.-:sessJon.

                           Furthermore;·employee. understands and agrees tnat Employer does·00t pay sick leave or-
                           vacation days at an)'·time_wici-that he shall .receive no,payment the;efore, Er.nployee
                           uqd~rstapds ~d agrees that Employer di)es not pay.for indivi"dual·expenses-such 8$ travel~
                           oooks, professiortal journals or' memberships in professional organizBtions. Employ~ is
                           resp011$ibfe for-and shali pay for all ~ucb expenses·such as. contin:u_ing cd_ucatio}l ·crcdits,_
                           licens~ renewals ·a nd malpr~~-t i~ irisurance.-_As a condition ofEmpfoyee-'s ~inpfoyment.
                           ~ploy~ sh:all ~e·her reasonable-efforts to promote ·nie busin.ess and:praetice of Employer
                           and Employ~. Additionally.; Employer agrees·fo proyide, in its so.le discretion, perio_dfo
                           media advertisei,nents, pr(jfess.fona[ webshe.preserice1_ social.media.presence; individual
                           ~\Joof' namepiate,-busioess-cards, pro(essi9na1 !f:ltterheag for b.u~iness eorresponde~~e.
                           persoJ¥1.lized b-1.is~n~s e+rnail and-internal communications between .employet:is. Employee
                           agrees that Employee's cnnsentand_amborizaJion ~ball be assuµie~ as h    _ aving be~~-g iven for
                           atJ.y adv~~sing wide~lqm 1:>y Btnployeflo_further·Employer's and Employee's-interests
                           re,gardingAPP. E~ployee.further agrees that"MinnesQta Care Tax.is ili~·sliared responsibility ·

---··--·--- - ---------   ... -----·-··· .   --·- -- -
  CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 64 of 100



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    of Employeni11.d-.Employee.and' that Employer shall·d~dµct Employee\s share;. which shall be
    Si~ty (60%)be_ginriing_with first paycheck on collectedpaymen~

   Insurance. Employee-will maintain inc;tiyidu.9rl prQfessionalmalpractice cDverag~,.-with a
    mintinuµ:i of$ 1.•099,900.000 -single/ $3:000,000.00 agstcgate coverage. which shall be
    primary.. Employer.maintains an·umbreila-malpractice poiicy for the practjce whlep i$ a.
    second 'laye,r: .o f protection above-and beyoi;i.4 the fadivi4Qal empl[!y.ee'i; coverage. ~mployer
    ~lso ~taihs a pr:o'fessfonal risk mwiagement·~up Which provides consultation and.attorney
    representation should a ·professfonal complaint he lodged against an Employ~.e.

5. B~liefits. Employee_:is·elig'ibl(; to pa,rti¢i'pa,_te in the pre-,ax .SE-'P IRA pian with matching
    fun~ pro_viq~byBIP.pl5:1yer. EmJjl.oyer:ptovides a nnaµcjai consultant for Em,pioyee who:
    wishes support in financial pliumihg; An Employee who wo.rks a J;Iµnimum-of
    .5 FTE (.!:O hours per week) i~ .eligible 'to-participa~e in tJi~.pem-al ·Plan. An Employee: who,
    works foll µme (24 sessions per·wcek) is eligible.to participate in the medical benefits·
    plan:

·6 . EQJplo_yer's Pra~tice-Jxpett~l,fo_tts Qf.Empioyee. Employee1,!I1derstililds that Employer has
     the followj.ng practice e,q,ecta~t>ns ofEmpfo)'ee -and agrees that he wJJr-oomply:

   ll-   Employee·'sprofessional.credenti_als must be.displayed°at all times.

   b: As a,m~ber of.Employ~r~s _practice, Employee shall cQntribute to' its _overall positive
      •image and envfronme~t by bis' professional demeanor; conduct,.,acts, writing.and
       repFesentation and shall willingly participate in oflice:·actiyjties rel~ted,t,o tlie rt.mpi.Qg ~nd
      ·promotion of th.e practice a:t all Umes._ ·

   c. ·Employee shal I .attend and· fr-om :time to time. present on a professional topic, i.Ji tb,e .once;
      ·a·moQth s,affII).t;(;tings in a positive andpiofe~_ionaf mcmticr, arid 1s:enc.ouraged·tq
       volunteer for a rilinimum ofon~-si>'e.Jlong engagement ·and-at ieast one time per year·
       when-he .represents Employer in·the-pubiic forum, doing so outside:of business hoµrs an.d
       without compensati9n therefore.
                                                                                       .           .
   d. 'Upon ~mplpyee~s :taking _FMLA time~Emplo_yee's job ·can be lte1dfor six {6) months
       st.ibj_ect- to, agrcemcnt-~y the- Employer iti writing,_Employ~..s satisfactory co.mpliaµce
       with Qotice.apd-·con_  clitiq~_for leave sef l;,y Employer; and ~ea_on "no undue·business
       h ~ " to Employer. Empioyee understands that office space is limited and up.on
         Tetum_may have a share(} office space -~g~ent ifQo single 9ffice~ are .avaj.lalsle,

   e: Einployee shall use any APP office or practice ·eqµlpment -such as t~lephone; fa,_c.,
      .computer, su_p pU~ and ·s imii~ item.~ pp._iy fo~ work rele,te_d·a:cµviµ~.

   f.    Employee-i's resp'i:msible for:completing all .p.rofessional correspo,lldence, profes~oIJal:
         reports, fntak~assesspients, progress notes   and   completiQti of ~U manGtated reporting.
         ·require~ents such as PHQ-9's~etc.

   g. 'Emplo_y~e ~~s t_o lil'l'lit referr~ls to· outs'ide clinics ot practi~onets--imlcss :to do so is in
       the patient's best in..terest or in th~-case where there--is,a need fo!·Ii. higher' le¥el of care
       sµch 45 a Q.ily treatment pro~ or an in~patient treatment facility.
   CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 65 of 100




    h. In'the··event that Employee's illne.s~-necessitate.s can~eJlation of patient appointments,
          Enwloyce shall make ~er.·best effort to·i:e-sc.h e.dul~ su~ patient/s. within the same week
          -~ itie appointment can~llesJ..

    i. .All vacation da:rs and sick leave days taken by Elllplqy~e are-_1µ1pafd. To ens.Ure the
        pa~{ents' be~t 'interests ~ the everit t}iat Eniployee takes vacation time, Employee 'is
        encouraged·to provide notice to support staff ofher proposed dates .qf ~bsence, a
        minimum·ofthirly-(30) days (or·as··~on as possible).in advance.

    j.    No loans or.salary advances shall he made. to Employee or received,.by Employee fi:om
          Employer at any. time,and·no loans-or personal"tinancial transacti~ns ~halr be undertaken
          by ~ployce wl~-or for any c;>thcr APP employee/s.

    k, F:mployee·shalt~lianze bei-seJfwith Employer's Policies.anc;f Proeeour.es H~dbopk
       and-shall follow·all guid'elines but=Ufldcrstands, acknowledges :and agrees that Employer·
       reserves-the right-and has the. right to·reserve·and-change its polfoies.an4 proc~dures       at
          .any _rim~ witho.ut .fu~her n~tice: E~pl!Jyee:~cifically ·acknowJ~g_es and agrees thaf
          'none ofEmployer's pblides- or procedures or the Policy and.Proccdure.Handbook:Itself
           cr~e any cmplo:yment offers, .pr.omises1 g_uarantees, represeotati'ons ·.or rights f9r
         :Empl_py~e o~t~ide of whatµ written .in this Agre~II!ent.

    L. _,Empl<,>yee shall make-8:J\ effort to ha\ie.a cu.n::ent knowledge_ofall fo~~ce updates',
          managed care ·network _guidelines and re-credenti~g guidelines during etnpl~yment.

    ~- Employee is solely ·respo~ible to.coinpl~te p~tient ·:r:eAArts.-and·re41,1ests '(or
       .iniormanoh itr a·proinpt an& ti.niely-mahner.

    n.    Employ~e ~alhnain~i~ a current.knowledge ·o fall licensing requirements, mariq~,ory
         .reportin,g, HIP:AA and othelfiaws relevant to pr.acticing in-the mental health field and
         shall 90mply wJth. ail l~gaJ .reql!irements and the highesl possible ethlcal ~.tandard:,
          therein. Any violation of licensing arid other.laws.and ethic'S ·described herein breaches
          the.~terial. terms o.ftj).is.Agr~II\ent;and is..im example ofconduct, which 1,0uld. result .
          in immediate tenn!natio~.

7. Patient Data.. Ernplay.ee s~ifically undei:stanqs,and ~es that~ll pe.tient files, computer
   records and data ·o (any description are.the prqperty ofEmployer and·that no··fj.Je -qr.
   informaticm concerning a.patient may be.~el'). out ·ofAPP's facility·unless necessary., and on
   any. oajsion. uttl¢sS' transported 'by·Employee in a locked container or password·protected
   tomputer:...Employet further understands and agrees that all patient data shall be held..in the
   strictest:confidence and.that a vioWion of patient confidentiality is an ex$.l)le·-9f conduct
   which e:ould "YfilT8Illiminediate-disniissal. Employee agrees and shall.sign APP's
   Confidentiality Agreement, w}lich. shall ·b.e attach~4 h~!eto, !Pld-m ade !!- part hereof arid
   iricoi:po_rated h~reµi. Eµiployee undemands; ~cknowledges ~d·-agrees that Etrtployer has. all
   final' decision-making authority with respect to. pr.o<::edurc:s.invQhring patie.nts, theidil~-.and
   ~ount&. Employee ·fu:rtl,ler- µa.~erstan.ds·n,iaJ h~i:- wish~s :will ~ -~~.into consideration
   i'e$arclin_g .ehargih& for no shC!w 'a ppointment or request,s that 4 patient n9t b.e.-sent f9.
   eol1ections due to ·~xtenuating-:eircumstap.~e~.

-!!. Out"$id«rEmploymeot!Non-Colllp_ete. Employc,e ackno~tedges. aru:l"•a ~ $at throµgh
         - - - -·--- ..·- ---- -----·-------------
   CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 66 of 100




   APP, he may upon hhrapptoval, from tiinc:tq·tu:ne, be imroduced t9 ·anq pro:vj~.e services for;
   di_sc~_s~, .pursue ~r ~ccept ~Y prof~s~foruil ~on.sulting,_-service or ·employment arrangement
   with or-through any such outside business or. agency outside. of services perfo~ed l?Y-
   Employee on APP' s behalf•.w1~o¢ Employer's express.co_ruient and authorization -in"
   wrif'.mg. E~pl(!yee further agr:ees thathesshallnot,discuss, pursue or accept .any -professional
   constilting, service ~r employment arrangementwith-.o r-through-any outs14e .independent
                                                                     as
   facility offtrlng s\lhstailtially the same or eqµ_iy_alent :retvices APP at m:i.y. time du~g
   em,.ploym.ent. at APP,, witliout"Em_ployer's express consent and authorization·'i n writing.
   Employee understands, ackn:owledges~and agrees that the breach of this-paragraph and:any of
   its tennsJs. an exampJe.of con.du.ct breachfug,material terms of.this A~rp.~rit. and w4ich
   eould 'be-grO:wids.for--imniedia~ termina~op.·. Ei:nplQyee a~knowledges.-1µ14 agrees that.
   npthing -in·this paragr~ph or agreem\;:ntis in~_nded tp_~terfere with EmplQyee, s ptpfessiomil
   status or pursuit- of.nis livelihood or the best ihterests of a_~atient

9, PostTetniination Non;.compete and ~olicitation. Employee uncietstands1 ·acknowledg_e·s
   and agrees ·thet Emplo~er?·s obligation is to ·assure the best treatment possible .for its patients.
   and to pr_oteet its·customer goodwill and interest~ and ~t thc.a-gr~cmeri.ts:eo·n~inedjn this
   Agre_emcnt and paragraph are made for that pw:po·se. Employee agreeg ·that; for a period of
   six months.measured from·the. date nfEmployee's·sc;paration.from employm~t with
   Employer; wheth~r- or not En;ipleyee is termi_riat~ from e~ploymen1r Employee shall not,
   cUre_C.tl:Y- ot indir~tiy, provide w.or~ or ,services at or .for any'outside entity offering the same
   or-eqµiv.alent .servic.es as· APP within-a thirty PO) mile rai:liU$·Of any APP .office or.faqilify.
   ;Bmp{:oyee.Jurther agre~.i hat.fQr-a period of.six mo~s ~ me.~ d frwn the date of
   EJ11ployee's sepw:atioil from employment·With Emplt>yer, Employee shall ·not, for any·reason,
   without·written consent by ·Employer, -~itl1~ ·pel'S9nal{y or U]rou_gh or on.behalf 9f ~other
   entify' orind,ividual,.$olicit•or off~_qt ptq\'ide serviee to any patient, or-solicit or·offerto
   em.ploy-or employ ~y fodi.vidual employed by or- formerly 'employed by EmP.ioyer, ·o r
   ret.1uest, advise or entice any such individual to leave·the etllployment ofEmployer;

   Thiirnori-compete·sttives·to ~ as limited in 'Scope .as possible..The:'J:'1on-compete does not
   restri~t or ihterfere,w_iµi.former emplayee.'s right-ttrwork in hospital ~.e tti~, prjsori setfing,
   -educational setflhgs; research rnstttutlons. day:ireamien.1 programs or county( state or f~cral
   PQSitions, Tne.non-compete"l& solel:r ~ pla~e to. pre11~nt prevjous emp1oye~s- from ~ire.ct ·
   c0mp~tmon with t,h.e-servkes provided
                                     .       at: APP and to.prevent the transfer of APP patients
                                                                                         .       to
    other clinics.

   The·followiriS:restriction. is therefore in. place. Former employee-"is prohibited from opening.a
   private1>racticeiorjoining iµ1 establisj:led ·Qµt~p~tie)ltth~nlpy group, pt~ti~Efor clinic for a
    period ofsix months froni:-datec'ofseparation.for a distance·o f30 mile radius in any direction
   from the.Rochester.office or any.APP· office.worked at D\ler the previous 12 months.

1O. C()venailt re. Prop~letary Data.. Enipfoyee ~grees without time· limitation-that he will not
    retain, c:0.py, use or clistlose any·conftdent,ial or prQptletary. ~nfon_natipn, oi any _
                                                                                            olhe:r
   ~sitive infennati9n ·ofEmploy~l quting Qr follo~~g Employee's:separ:ation fro.tn
   emplo)'nient,, no matter what the.·nature, reasons or:circumstances .o f that.~ep.aratipn.
CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 67 of 100



                                                                                                         -6



Empi~yee.futiher acknowledges and·agree~ that ~.nfidential_pr9pri~tary ~d _sensitiv~
i.Qfi;>rmation incl~d~s pufis;not.limited to, personal, financi~l, research;.org•tionalr
µ-ea~ment,. bus~ness, .:service arid·pteseripti•on pricing and discount patient;- policy, softwar,e or
other informatfon·d.eveloped by Employer or its-employees,.and·an-y.an4 all doc~ents
prepared by or rnJhe-course 0£-employmentwith,Employer1 including all copicsth~reof;
wheth.e r in doqument&cy, CQJ.l,lpuier stClrage, audiol:vid~ t~peor otherm~dium or form.
Employ~e furtber i:p:lderst.~ tjs anc;i agrees that any·research .work and conclusions, endeavors,
·c-0.rtseqilences or'.products including but not limite(i.to :financial, resulting fj:9Jll Employe~'s
work or- Employee's collaboration with in.side-or outsid~ persops :reg~ding,work he performs
ator.for APP.during the tim,e ofhis employm~nt with Employer, _is1he-pf~perty ofEmployer,
unless .tpe parties agree otherwtse in wtitiIJ.g.

 TerminatiQn·or.Employment. Out of regard for ~e best int~e-s ts.of the pa:tients, in the
 eve11t that Employee wishes to terminate the employment reiationship with Employer,
 Employer:requests, but·does not require,.thatEmployee provides wn.tten·natic<: of
 t~nnination,to Er:nplpycr a minin,um of ninety (~O) <4lys pri,oi' to lhe 4~~ed ~nnmation dat~
 \.\j_t_h tlexjpili~y in pr9.vidjng more ~tice to assqr¢ enough tirile to hire a new provider-to fill
 the vacated position. Employee.spe<;i.ficaily acknowledg~s and.agrees that the ·ac~?-1 ~fate.of
                            ·any
.t~TD\lll«f.~On -may µe set l\t      tim~:dµri~ tl:ie.ninety (9.0) days_'no1iC:e-·ped.od using
 reasonable-:cliscretion. Employee agrees-that in the event ofEinployee!s tetmination of
 employment with Employer, in order to ensur~ patient b~t interests ap<,i.a~ooth transitio~
 Employee's patient caseload shall be·_     tra,nsfefI'Cd to othc:r pl'.acti_tioners'witll .Employer,.
.according·to area ·q f experti~e and paµent need. Employee agrees that she will cooperate -in
 all regards with Employ.er and ~ther practitioners·-B.Q4staffregarding any IPiltters ~d-"is$ues
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 that h.6 sluUl -b e paid Qniy up to and inch,1ding Employee's las~ day 6f employment:, and· only
.for poor_oill~d:and/or-collectcd receipts as ~escribed in para~ph #3 above. Employee
 agrees that-any receivables still outstanding for services·after last ·day of emp1oyinenfand
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 advertising ;mii_hirj]ig a new Employee. The parties-also agree.that Emplqy.ee m~y not copY.
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 Employees separation ftom the·group ·and that tlle:Emr_:>loye~ yiill hav.e -the opportajlity to ro-
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  CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 68 of 100



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l -1. APP's Reservation of Rights. Employer retains all n~ssary -rights. tO'·opemte and dirc;ct.
         and
      APP its .affairs in all aspects and:to make final d~isiol)S i~ ~haf regarcl,_dµting and efter
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      with9ut written approval ·of employ~.                                 ·          ·

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     8.QY ~ovenant.in this Agreement may cause. serious and irr~parable -dam.age to ertiploye~
     Employee agrees. that -damages al law ·wou!d· be a!1:inadcquate remedy fdr·a breach of.the
     covenants contained herein and that, in·addition·,to -any and all other.remedies at.law to which
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    agreements ~d ·communications betwee°li the,parties.

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  CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 69 of 100



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20, Volinitary and·Knowing Action; Employee agrees-and acknowiedges_that sh.e has had
   the opportµnity -to consult with an.attorney of his/h~rchoice and to have, tbi~ Agr~ment
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D.~d:.Ernploycr

ASSOCIATES
   . . . . IN PSYCHIATRY--
AND PSYCHOLOGY, PA.




Franklin Mc;rchant, Ass~iates in Psychiatzy and ,Psy9bology



                                     04/24/2020
               CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 70 of 100

EXHIBIT
   C



                    UNITED STATES DISTRICT COURT FOR THE                                      Style Definition: Comment Text

                           DISTRICT OF MINNESOTA

 STATE OF MINNESOTA                                DISTRICT COURT – CIVIL DIVISION            Formatted Table
 Sheila M. Dunn,                                   Case No. 0:22-cv-00615-NEB-JFD

                               Plaintiff,          Judge Nancy E. Brasel

                         v.                        Magistrate Judge John F. Docherty

 Associates in Psychiatry and Psychology,          SECOND AMENDED COMPLAINT
 P.A., Seth Franz, Priyanka Rao, Does 3–20,                                                   Formatted: Font: Times New Roman, 13 pt, All caps
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                              Defendants.                                                     Don't adjust space between Asian text and numbers
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  COUNTY OF WINONA                                          THIRD JUDICIAL DISTRICT           Formatted: Centered, No widow/orphan control, Don't
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                                                                                              between Asian text and numbers

  Sheila M. Dunn,                                      Hon. Nancy L. Buytendorp

                     Plaintiff,                        Case Type: Employment

  v.                                                   Case No. 85-CV-21-1472

                                                       AMENDED COMPLAINT
  Associates in Psychiatry and Psychology,
  P.A. and Does 1–20,

                    Defendants.

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        Plaintiff, Sheila M. Dunn, states and alleges as follows:

                                            THE PARTIES

        1.      Ms. Dunn is a natural person who resides in Winona County, Minnesota.

        2.      Defendant Associates in Psychiatry and Psychology, P.A. (“APP”) is a

 Minnesota limited liability companycorporation with its primary place of businessprincipal   Formatted: Font: 13 pt


 executive office address in Rochester, Minnesota and that provides service throughout the    Formatted: Font: 13 pt


 State of Minnesota. .                                                                        Formatted: Font: 13 pt
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 71 of 100




       3.     Defendant Seth Franz is a natural person who, upon information and belief,

resides in Oak Park, Illinois.

       4.     Defendant Priyanka Rao is a natural person who, upon information and

belief, resides in Maple Grove, Minnesota.

       3.5.   Upon information and belief, Defendants Does 13–5 are individuals of                Formatted: Font: 13 pt
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unknown residence.

       4.6.   Upon information and belief, Defendants Does 6–10 are individuals of

unknown residence.

       5.7.   Upon information and belief, Defendants Does 11–15 are entities of

unknown corporate form and residence.

       6.8.   Upon information and belief, Defendants Does 16–20 are entities of

unknown corporate form and residence.                                                             Formatted: Font: 13 pt


                             JURISDICTION AND VENUE

       7.9.   This Court has subject matter jurisdiction over this matter because case            Formatted: Font: 13 pt


pursuant to 28 U.S.C. § 1331, as the actionscase raises claims based upon federal statute.        Formatted: Font: 13 pt


This Court further has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over

Plaintiff’s state law claims. This Court has personal jurisdiction over Defendant APP as it

is a corporation operating and omissions giving rise to the action occurred primarilylocated in   Formatted: Font: 13 pt
                                                                                                  Formatted: Font: 13 pt

the State of Minnesota.                                                                           Formatted: Font: 13 pt


       10.    This Court has personal jurisdiction over Defendant Franz as, pursuant to

Fed. R. Civ. P. 4 and Minn. Stat. Winona County is the proper venue for this matter because       Formatted: Font: 13 pt


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Ms. Dunn resides in Winona County and at all times while providing telemedicine services
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              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 72 of 100




described in this Complaint did so from her home in Winona County.§ 543.19, he transacts

business within the state.

       11.    This Court has personal jurisdiction over Defendant Rao as she resides within

the State of Minnesota.

       8.12. Venue is proper in the District of Minnesota under 28 U.S.C. § 1391(b)(2)

because a substantial part of the events and/or omissions giving rise to claim occurred in

Minnesota.                                                                                       Formatted: Font: 13 pt


                              FACTUAL BACKGROUND

       9.13. This case arises from Ms. Dunn’s employment with APP, which began in or

around May of 2020. APP has an annual dollar volume of business revenue in excess of

$500,000.                                                                                        Formatted: Font: 13 pt


       10.14. Ms. Dunn is a registered nurse and certified nurse practitioner who served in

that role at APP in her first position following earning her nurse practitioner certification.

       15.    APP is a mental health practice providing various forms of therapy,

psychiatric, and psychological services.

       11.16. In April of 2020, APP offered employment to Ms. Dunn, and she accepted.            Formatted: Font: 13 pt


The Written Employment Agreement

       12.17. Later, to memorialize the employment relationship, APP forwarded to Ms.

Dunn a written contract of employment (the “Employment Agreement”), a copy of which

is attached as Exhibit 1.



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                                              3
             CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 73 of 100




       13.18. The Employment Agreement was at least partially incomplete, omitting

various numbered paragraphs and failing to include information required by Minn. Stat. §

181.55.

       14.19. While the Employment Agreement acknowledged Ms. Dunn’s status as an

employee, it purported to compensate her based upon an illegal profit-sharing scheme.

       15.20. Specifically, the Employment Agreement provides as follows:

              Compensation. The parties agree that, as for compensation
              employee will be paid sixty percent (60%) of collected
              receivables, which shall be understood to be those payments
              already collected and listed as ‘payments’ on the Monthly
              Provider Summary Report prepared by Employer’s billing
              department and approved by Employer on the revenue that
              Employee personally generates for APP per month for each
              specific month, less all applicable local, state and federal
              withholdings, or other deductions employee wishes to take
              (examples: set asides for health savings account, medical or
              retirement savings accounts). Employee agrees that payment
              shall be made by Employer to Employee (or directly deposited
              by Employer to Employee’s personal bank account), every
              other Friday based on the prior period’s receipts and Employee
              shall sign all appropriate forms in a timely manner to facilitate
              payment. Should there be a holiday on one of these dates,
              paychecks will be deposited the following business day.
              Employee further understands that all case notes must be
              completed in order to bill for the session.

Employment Agreement, p. 2, ¶ 1.

       16.21. Upon information and belief, APP used the same or similar illegal language

in its contracts with other employees.

       17.22. APP failed to provide the beginning-of-employment notices required by

Minn. Stat. § 181.032(d).
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              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 74 of 100




       18.23. Throughout Ms. Dunn’s employment, APP failed to provide accurate and

complete earning statements as required by Minn. Stat. § 181.032 and the contract itself.

       19.24. Ms. Dunn regularly worked without pay on days when she was supposed to

be relieved of duty for time off or to attend training.

       20.25. During these times she answered questions from patients and coworkers,

often to the extent that she was unable to complete training exercises.

       21.26. Ms. Dunn made multiple requests for APP to provide her with Current

Procedural Terminology (“CPT”) codes and policies so that Ms. Dunn could bill patients

properly.

       22.27. APP refused to provide all relevant CPT codes and policies.

       23.28. In JuneJuly 2021, Ms. Dunn reported to APP that patients may be improperly    Formatted: Font: 13 pt


billed because she was unsure of what needed to be included in notes to meet billing

requirements for billing the codes APP required her to use.

       24.29. A short time after Ms. Dunn’s report, APP summarily terminated Ms. Dunn’s

employment.

       25.30. APP has refused—and continues to refuse—to provide calculations showing

the basis for and calculations of her compensation.

       26.31. APP has claimed to have “reason to believe” Ms. Dunn violated certain

restrictive covenants but has failed to provide any evidence of those allegations.

       27.32. Upon information and belief, Defendants did not keep records of hours Ms.

Dunn worked.
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              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 75 of 100




       28.33. APP paid Ms. Dunn less than the mandatory minimum wage for, at a

minimum, the first and last monthsmonth of Ms. Dunn’s employment.                             Formatted: Font: 13 pt


       29.34. APP has made vague legal threats to Ms. Dunn and the group with which she

plans to provide care as an independent contractor.

       30.35. Multiple patients have informed Ms. Dunn that they need prescription refills,

but they are not able to get them because APP refuses to authorize refills unless those

patients come in for an appointment that is not available until after they run out of

medication.

       31.36. APP has blamed Ms. Dunn for patient confusion although APP failed to

comply with its contractual obligation to provide patients with a letter informing them of

Ms. Dunn’s departure, and for weeks after her departure her name, biography, and image

were still on APP’s website.

Contractual Language

       32.37. The alleged restrictive covenants in the Employment Agreement are stated

in several contradictory ways.

       33.38. However, APP relies upon a provision without any geographic or practice

scope limitations:

              Employee further agrees that, for a period of six months,
              measured from the date of Employee’s separation from
              employment with Employer, Employee shall not, for any
              reason, without written consent by Employer, either personally
              or through or on behalf of another entity or individual, solicit
              or offer or provide service to any patient . . . .

Employment Agreement, p. 5, ¶ 9.
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             CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 76 of 100




       34.39. APP relies upon this provision in its cease and desist letter to Ms. Dunn.

       35.40. Two other provisions purport to apply to Ms. Dunn if her employment is

involuntarily terminated, but the provision APP seeks to enforce does not apply in that

circumstance.

       36.41. The contract provides as follows:

                Employee further understands that Employer shall write an
                official letter to patients informing them of the Employees [sic]
                separation from the group and that the Employee will have the
                opportunity to co-sign the letter.

Employment Agreement, p. 6, ¶ 10.

       37.42. Not only did APP not comply with this provision, but its agents also attacked

and blamed Ms. Dunn for the resulting patient confusion.

       38.43. Instead of complying with the terms of the Employment Agreement, APP

forced Ms. Dunn to expend many hours of unpaid work informing patients individually of

her departure.

       39.44. Ms. Dunn offered APP the opportunity to provide evidence that it complied

with the Employment Agreement, and APP again declined.

       40.45. APP appears to be concerned that Ms. Dunn has responded to patient

inquiries regarding where she now plans to practice, but APP had declined to clarify what

evidence it has of any conduct even potentially violative of the Employment Agreement.

       41.46. Ms. Dunn invited APP to provide any legal authority that responding to

patient inquiries could ever constitute improper competition or solicitation, even assuming

an enforceable noncompete, and APP has not provided any.
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                                               7
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 77 of 100




Personnel Records

       42.47. Ms. Dunn has demanded a copy of her personnel records in accordance with

Minnesota law.

       43.48. To date, Ms. Dunn’s personnel records have not been provided to her.

Demand for Payment of Wages

       44.49. Ms. Dunn has demanded in writing payment of all earned unpaid wages.

       45.50. To date, APP has refused to provide Ms. Dunn a calculation of her wages or

any payment of those wages yet unpaid.

Underpayment

       46.51. Even based upon APP’s illegal proposed compensation model, APP

underpaid Ms. Dunn.

       47.52. For example, her commissions in the first quarter of 2021 appear to her to be

significantly less than would be required, given her treatment of patients in the final quarter

of 2020.

       48.53. Despite Ms. Dunn’s request, APP has not provided the financial records

showing the computation of Ms. Dunn’s compensation.

       49.54. At a minimum, Ms. Dunn worked for the first two months of her employment

with almost no compensation.                                                                      Formatted: Font: 13 pt


       50.55. In addition, APP has not paid Ms. Dunn for the last month of her work.

       51.56. Notably, this period of time included many hours of “transition” work that

could not have been compensated by fee sharing even if APP had properly compensated
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her with fee sharing.                                                                             Formatted: Font: 13 pt



                                              8
               CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 78 of 100




       52.57. The Employment Agreement indicates that Ms. Dunn would not be paid for

much of her work performed over three full months because she did not give notice of her

termination and APP had not yet been paid by patients or third-party payors:

               Employee shall continue to receive payments on receivables
               for ninety (90) days following the Employee’s last date of
               employment on the following conditions: a) Employee has
               timely submitted the charge slips as described in paragraph #3
               above; and b) Employee has given Employer ninety (90) days’
               notice. Should the conditions of a through herein [sic] not
               be complied with, Employee acknowledges and agrees that
               she shall be paid only up to and including Employee’s last
               day of employment, and only for prior billed and/or
               collected receipts as described in paragraph #3 above.
               Employee agrees that any receivables still outstanding for
               services after last day of employment and past the 90-day
               period shall go towards Employer’s recouping costs associated
               with advertising and hiring a new Employee.

Employment Agreement, p. 6, ¶ 10 (emphasis added).

       53.58. This provision conditions payment upon the application of “paragraph #3,”

which does not exist, and then only allows for payment of “billed and/or collected

receipts[.]”

       54.59. Because APP has not provided any additional compensation or

documentation regarding Ms. Dunn’s compensation, presumably it believes this provision

overrides Minnesota law.

       55.60. While it has not said so expressly, APP apparently relies upon this provision

for its refusal to compensate Ms. Dunn for work performed toward the end of her

employment.


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                                             9
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 79 of 100




       Wrongful Termination/Whistleblower Violation/Violation of MHRA

       56.61. Ms. Dunn demanded information regarding her billing and wages and was

only once provided any such information.

       57.62. Ms. Dunn made this demand in January of 2021 and was provided with

incomplete information.

       58.63. APP refused to provide the information, claiming Ms. Dunn had already been

provided with the information.

       59.64. APP did not explain why, even if that were true, Ms. Dunn would not be

allowed to review a second copy of the information she needed to accurately bill patients.

       60.65. In early June 2021 the CEO of APP, Seth Franz, sent an email requesting to

meet individually with the providers on a quarterly basis to better get to know the providers.

       61.66. Ms. Dunn scheduled a meeting with him for July 9, 2021.

       62.67. On July 1, 2021, Ms. Dunn had a pre-scheduled meeting with the clinical

manager.

       63.68. At that meeting, Ms. Dunn complained that she needed additional

information regarding how to code her billing properly.

       64.69. The clinical manager asked if Ms. Dunn was suggesting that the billing was

fraudulent, and Ms. Dunn indicated she was not sure because she had not been provided

with the requested information.

       65.70. At that meeting, APP criticized Ms. Dunn’s work for the first time, and,           Formatted: Font: 13 pt


asked what APP could do to support her work.
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                                             10
             CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 80 of 100




       71.    Ms. Dunn indicated that she, while she did not agree with the criticisms, she   Formatted: Font: 13 pt


had been having difficulty concentrating and had .

       72.    On July 7, 2021, Ms. Dunn disclosed in writing to her supervisor, Melanie

Heu, that she had recently been diagnosedtested for ADHD because she was having               Formatted: Font: 13 pt


symptoms of distraction, forgetfulness, making mistakes, etc.

       73.    The same day, Ms. Heu acknowledged the message and discussed with               Formatted: Font: 13 pt


attention deficit/hyperactivity disorderMs. Dunn her “symptoms.”

       66.74. Ms. Heu did not tell Ms. Dunn that a decision had been made to terminate

Ms. Dunn’s employment.                                                                        Formatted: Font: 13 pt


       67.75. Ms. Dunn met with Mr. Franz on July 9, 2021 as scheduled.

       68.76. At that meeting, APP terminated Ms. Dunn’s employment.

       69.77. APP engaged in no interactive process to address whether Ms. Dunn had a

disability or how APP could accommodate her.

       70.    Shortly thereafter, APP terminated Ms. Dunn’s employment.

       71.78. APP then interfered with Ms. Dunn’s right to treat any patients.                Formatted: Font: 13 pt


       72.79. As a result of Defendants’ actions, Ms. Dunn has suffered severe mental

anguish and distress.

The Individual Parties

       80.    Seth Franz is, and at all relevant times was, APP’s CEO. As APP’s CEO, he

served on the leadership group that purportedly decided to terminate Ms. Dunn and told

Ms. Dunn she had been terminated.
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                                            11
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 81 of 100




        81.   Mr. Franz also served, during at least some of the time that Ms. Dunn worked

at APP, as APP’s director of operations, human resources manager, and compliance officer.

In these capacities, he calculated Ms. Dunn’s wages, and arranged for her to be paid. He

did that work in the interest of APP in relation to Ms. Dunn.

        82.   Priyanka Rao is APP’s owner and chief clinical officer. As APP’s owner and

chief clinical officer, she served on the leadership group that purportedly decided to

terminate Ms. Dunn. She also had operational control over clinical activities such as the

ones in which Ms. Dunn was engaged. She acted in the interest of APP in relation to Ms.

Dunn.

        73.83. Upon information and belief, Defendants Does 13–5 were also employers of      Formatted: Font: 13 pt
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Ms. Dunn or were joint employers of Ms. Dunn.

        74.84. Upon information and belief, Defendants Does 6–10 are APP’s owners,

agents or otherwise liable for the acts and omissions alleged in this Complaint.

        75.85. Upon information and belief, Defendants Does 11–15 were also employers

of Ms. Dunn or were joint employers of Ms. Dunn.

        76.86. Upon information and belief, Defendants Does 16–20 are APP’s owners,

agents or otherwise liable for the acts and omissions alleged in this Complaint.




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                                            12
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 82 of 100




                                           CLAIMS

                                       COUNT I                                                 Formatted: Font: 13 pt

                               DECLARATORY RELIEF                                              Formatted: Font: 13 pt

                           Uniform Declaratory Judgments Act                                   Formatted: Line spacing: single

                               Minn. Stat. § 555.01, et seq.
                                (Against Defendant APP)

       77.87. Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       78.88. As described in detail above, a present and judiciable controversy has arisen

between the parties with regard to the Employment Agreement.

       79.89. APP has contended that various alleged restrictive covenants are binding and

enforceable and prevent Ms. Dunn from seeing any patients.

       80.90. Specifically, through its counsel, APP wrote to Ms. Dunn on August 11, 2021

contending that the Employment Agreement “provides that during your employment with

APP and for six months thereafter you ‘shall not, for any reason without written consent

by [APP], either personally or through or on behalf of another entity or individual, solicit

or offer or provide service to any patient . . . .’”

       81.91. APP’s counsel further threatened “APP has authorized us to take any and all

measures, including legal action, to protect it from further harm and to compensate it for

any damages[]” and threatened “the imminent potential for litigation . . . .”

       82.92. The alleged restrictive covenants are not enforceable against Ms. Dunn for

several reasons, including lack of consideration, failure of consideration, material breach,

unclean hands, illegality, overbreadth, and ambiguity.

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                                               13
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 83 of 100




       83.93. Nurse practitioners are not exempt employees for wage payment purposes

unless they satisfy both the primary duties and the salary basis test.

       84.94. Because an agreement to pay an employee solely on a revenue basis is illegal,

any reciprocal obligations on the part of the employee are also illegal and unenforceable.

       85.95. Ms. Dunn requests a declaration from this Court that the purported restrictive

covenants are not enforceable.

                                       COUNT II                                                Formatted: Font: 13 pt

                               BREACH OF CONTRACT                                              Formatted: Font: 13 pt

                                (Against Defendant APP)                                        Formatted: Line spacing: single


       86.96. Ms. Dunn incorporates the allegations contained in the preceding paragraphs

as if the same were fully set forth herein.

       87.97. The Employment Agreement exists between Ms. Dunn and APP as

enforceable against APP because, to the extent the Employment Agreement provides for

greater rights or compensation than would otherwise be legally required, such standards

are incorporated into the legal compensation to be paid by statute and such contractual

provisions are severable from the illegal or unenforceable provisions of the Employment

Agreement pursuant to ¶ 17 of the Employment Agreement.

       88.98. The illegality of the compensation provision does not save an employer from

paying the agreed-upon higher compensation if it is higher than would otherwise be

provided by law.

       89.99. APP’s actions and omissions, as more fully described above, breached the

Employment Agreement including, without limitation, failure to pay Ms. Dunn’s wages at
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                                              14
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 84 of 100




the agreed upon rate and failure to properly advise patients of the end to Ms. Dunn’s

employment.

       90.100.        All conditions precedent to APP’s performance under the contact have

been met.

       91.101.        Ms. Dunn has suffered damages as a result of the breach of contract.

                           COUNT III                                                             Formatted: Font: 13 pt

    BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING                                        Formatted: Font: 13 pt

                     (Against Defendant APP)                                                     Formatted: Line spacing: single


       92.102.        Ms. Dunn incorporates the allegations contained in the preceding

paragraphs as if the same were fully set forth herein.

       93.103.        Each contract in the State of Minnesota includes an implied covenant

to act in good faith and deal fairly with other parties to the contract.

       94.104.        APP’s actions, as more fully detailed above, breached its duty to

perform under the contract addressed in Count II and to deal fairly with Ms. Dunn,

including its refusal to notify patients of Ms. Dunn’s departure, as required by the contract,

then faulting her for the resulting patient confusion.

       95.105.        Upon information and belief, APP intentionally miscalculated Ms.

Dunn’s compensation.

       96.106.        APP failed—and continues to fail—to provide any support for its

calculations of Ms. Dunn’s compensation.

       97.107.        Ms. Dunn has suffered damages as a result of those breaches,

including earned but unpaid compensation.
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              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 85 of 100




                              COUNT IV                                                         Formatted: Line spacing: single

        VIOLATION OF MINNESOTA FAIR LABOR STANDARDS ACT
                     Minn. Stat. § 117177.21, et seq.                                          Formatted: Font: 13 pt

                       (Against All Defendants)

       98.108.       Ms. Dunn incorporates the allegations contained in the preceding

paragraphs as if the same were fully set forth herein.

       99.109.       Minnesota law requires that any employee not exempt under the

Minnesota Fair Labor Standards Act (“MFLSA”) or paid on a piece rate basis be

compensated on an hourly wage basis and paid a premium for any hours in excess of 48

worked in a workweek based upon the employee’s “regular rate of pay” which may or may

not be the employee’s direct hourly wage.

       100.110.      APP qualifiesand, as an employerindividuals who acted in APP’s            Formatted: Font: 13 pt


interest in relation to Ms. Dunn, Mr. Franz and Dr. Rao, qualify as employers pursuant to      Formatted: Font: 13 pt


Minnesota law, including Minn. Stat. § 177.23, subd. 6.                                        Formatted: Font: 13 pt


       101.111.      Upon information and belief, Does 13–5 and Does 11–15 are defined         Formatted: Font: 13 pt


as “employers” pursuant to Minn. Stat. §177.23, subd. 6 and are also liable for any unpaid

compensation.

       102.112.      Defendants failed to compensate Ms. Dunn on an hourly wage basis

with a premium for hours worked in excess of 48 in a workweek.

       103.113.      Ms. Dunn has suffered damages as a result of Defendants’ violations

of the MFLSA.

       104.114.      Ms. Dunn is entitled to recover her attorney fees and costs incurred in

remedying APP’s violations of the MFLSA.
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                                             16
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 86 of 100




                               COUNT V                                                          Formatted: Line spacing: single

           VIOLATION OF MINNESOTA PAYMENT OF WAGES ACT
                           Minn. Stat. § 181.13
                         (Against All Defendants)

       105.115.      Minn. Stat. § 181.13(a) provides, in relevant part, as follows:

              Wages are actually earned and unpaid if the employee was not
              paid for all time worked at the employee’s regular rate of pay
              or at the rate required by law, including any applicable statute,
              regulation, rule, ordinance, government resolution or policy,
              contract, or other legal authority, whichever rate of pay is
              greater.

       106.116.      Minn. Stat. § 181.13(a) further provides as follows:

              When any employer employing labor within this state
              discharges an employee, the wages or commissions actually
              earned and unpaid at the time of the discharge are immediately
              due and payable upon demand of the employee. Wages are
              actually earned and unpaid if the employee was not paid for all
              time worked at the employee's regular rate of pay or at the rate
              required by law, including any applicable statute, regulation,
              rule, ordinance, government resolution or policy, contract, or
              other legal authority, whichever rate of pay is greater.

       107.117.      The agreement pleaded in Count II constitutes a contract, and Ms.

Dunn is entitled to the highest promised compensation.

       108.118.      APP has failed to pay Ms. Dunn all of her earned wages despite

receiving a written demand.

       109.119.      Ms. Dunn has suffered damages as a result of APP’s violation of the

statute.

       110.120.      Minn. Stat. § 181.171 authorizes a civil action for a violation of Minn.

Stat. § 181.13.

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                                             17
             CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 87 of 100




      111.121.      Ms. Dunn is entitled to recover her earned, unpaid wages as well as a

penalty consisting of an amount equal to 15 days of her average daily earnings.

      112.122.      Ms. Dunn is entitled to an award of attorney fees and costs with regard

to the demand and recovery of unpaid wages.

                              COUNT VI                                                        Formatted: Indent: Left: 0"

    VIOLATION OF THE MINNESOTA WAGE THEFT PREVENTION ACT
                 Minn. Stat. §§ 177.30, 181.032, 181.101
                 (Against Defendant APPAll Defendants)                                        Formatted: Font: 13 pt


      113.123.      The Minnesota Wage Theft Prevention Act was enacted to prevent

exactly the type of conduct APP has engaged in. Specifically, Minnesota law requires that

new employees receive detailed wage disclosure information, including information

regarding wage payment, to be disclosed at the beginning of the employment relationship

to help avoid wage and hour violations:

             (d) At the start of employment, an employer shall provide
             each employee a written notice containing the following
             information:

                    (1) the rate or rates of pay and basis thereof,
                        including whether the employee is paid by the
                        hour, shift, day, week, salary, piece, commission,
                        or other method, and the specific application of
                        any additional rates;
                    (2) allowances, if any, claimed pursuant to permitted
                        meals and lodging;
                    (3) paid vacation, sick time, or other paid time-off
                        accruals and terms of use;
                    (4) the employee’s employment status and whether
                        the employee is exempt from minimum wage,
                        overtime, and other provisions of chapter 177,
                        and on what basis;
                    (5) a list of deductions that may be made from the
                        employee’s pay;
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                                           18
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 88 of 100




                     (6) the number of days in the pay period, the regularly
                         scheduled pay day, and the pay day on which the
                         employee will receive the first payment of wages
                         earned;
                     (7) the legal name of the employer and the operating
                         name of the employer if different from the legal
                         name;
                     (8) the physical address of the employer’s main office
                         or principal place of business, and a mailing address
                         if different; and
                     (9) the telephone number of the employer.

              (e) The employer must keep a copy of the notice under
              paragraph (d) signed by each employee acknowledging
              receipt of the notice. The notice must be provided to each
              employee in English. The English version of the notice must
              include text provided by the commissioner that informs
              employees that they may request, by indicating on the form,
              the notice be provided in a particular language. If requested,
              the employer shall provide the notice in the language requested
              by the employee. The commissioner shall make available to
              employers the text to be included in the English version of the
              notice required by this section and assist employers with
              translation of the notice in the languages requested by their
              employees.

              (f) An employer must provide the employee any written
              changes to the information contained in the notice under
              paragraph (d) prior to the date the changes take effect.

Minn. Stat. § 181.032(d)–(f) (emphasis added).

       114.124.      APP never provided the required notice.

       115.125.      Ms. Dunn requested that APP provide a copy of the notice signed by

Ms. Dunn, and APP has not done so.

       116.126.      APP also violated Minnesota law with respect to providing Ms. Dunn

earning statements. Specifically, the following is required:
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                                            19
             CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 89 of 100




             (a) At the end of each pay period, the employer shall provide
                 each employee an earnings statement, either in writing or
                 by electronic means, covering that pay period. An employer
                 who chooses to provide an earnings statement by electronic
                 means must provide employee access to an employer-
                 owned computer during an employee's regular working
                 hours to review and print earnings statements.

             (b) The earnings statement may be in any form determined by
                 the employer but must include:

                (1) the name of the employee;

                (2) the rate or rates of pay and basis thereof, including
                    whether the employee is paid by hour, shift, day,
                    week, salary, piece, commission, or other method;

                (3) allowances, if any, claimed pursuant to permitted meals
                    and lodging;

                (4) the total number of hours worked by the employee
                    unless exempt from chapter 177;

                (5) the total amount of gross pay earned by the employee
                    during that period;

                (6) a list of deductions made from the employee’s pay;

                (7) the net amount of pay after all deductions are made;

                (8) the date on which the pay period ends;

                (9) the legal name of the employer and the operating name
                    of the employer if different from the legal name;

                (10)      the physical address of the employer’s main
                   office or principal place of business, and a mailing
                   address if different; and

                (11)      the telephone number of the employer.


Minn. Stat. § 181.032(a) (emphasis added).

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              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 90 of 100




       117.127.      Ms. Dunn’s earning statements do not comply with the law, failing at

least in the areas noted above in boldface text.

       118.128.      The Employment Agreement provides that APP will deduct from pay

a portion of its MinnesotaCare Provider Tax from Ms. Dunn’s wages.

       119.129.      Ms. Dunn’s earning statements do not indicate any deductions for that

purpose, which means that deductions were taken without proper notice.

       120.130.      Minnesota law further required APP to keep detailed records of Ms.

Dunn’s compensation:

              (a)    Every employer subject to sections 177.21 to 177.44
              must make and keep a record of: (1) the name, address, and
              occupation of each employee; (2) the rate of pay, and the
              amount paid each pay period to each employee; (3) the hours
              worked each day and each workweek by the employee,
              including for all employees paid at piece rate, the number of
              pieces completed at each piece rate; (4) a list of the personnel
              policies provided to the employee, including the date the
              policies were given to the employee and a brief description of
              the policies; (5) a copy of the notice provided to each employee
              as required by section 181.032, paragraph (d), including any
              written changes to the notice under section 181.032, paragraph
              (f);

Minn. Stat. § 177.30.

       121.131.      Upon information and belief, APP did not keep such records.

       122.132.      APP has refused to provide Ms. Dunn with any such records.

       123.133.      The Minnesota Wage Theft Prevention Act provides as follows:

              (a) Except as provided in paragraph (b), every employer must
              pay all wages, including salary, earnings, and gratuities earned
              by an employee at least once every 31 days and all
              commissions earned by an employee at least once every three
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              months, on a regular payday designated in advance by the
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                                             21
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 91 of 100




              employer regardless of whether the employee requests
              payment at longer intervals. Unless paid earlier, the wages
              earned during the first half of the first 31-day pay period
              become due on the first regular payday following the first day
              of work. If wages or commissions earned are not paid, the
              commissioner of labor and industry or the commissioner's
              representative may serve a demand for payment on behalf of
              an employee. In addition to other remedies under section
              177.27, if payment of wages is not made within ten days of
              service of the demand, the commissioner may charge and
              collect the wages earned at the employee's rate or rates of pay
              or at the rate or rates required by law, including any applicable
              statute, regulation, rule, ordinance, government resolution or
              policy, contract, or other legal authority, whichever rate of pay
              is greater, and a penalty in the amount of the employee's
              average daily earnings at the same rate or rates for each day
              beyond the ten-day limit following the demand. If payment of
              commissions is not made within ten days of service of the
              demand, the commissioner may charge and collect the
              commissions earned and a penalty equal to 1/15 of the
              commissions earned but unpaid for each day beyond the ten-
              day limit. Money collected by the commissioner must be paid
              to the employee concerned. This section does not prevent an
              employee from prosecuting a claim for wages. . . . For purposes
              of this section, wages are earned on the day an employee
              works. This section provides a substantive right for employees
              to the payment of wages, including salary, earnings, and
              gratuities, as well as commissions, in addition to the right to be
              paid at certain times.

Minn. Stat. § 181.101.

       124.134.      APP failed to pay Ms. Dunn in accordance with this statute.

       125.135.      Despite demand, APP has refused to pay Ms. Dunn pursuant to this

statute.

Ms. Dunn is entitled to a penalty for this failure pursuant to Minn. Stat. § 181.101.

       126.136.      Ms. Dunn is entitled to an award of attorney fees and costs with regard
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to the demand and recovery of unpaid wages.
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                                             22
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 92 of 100




       127.137.      Upon information and belief, Does 13–5 and Does 11–15 are joint         Formatted: Font: 13 pt


employers of Ms. Dunn and are also liable for failing to properly pay Ms. Dunn

       128.138.      Upon information and belief, Does 6–10 are owners of APP and are

also liable for APP’s failure to pay Ms. Dunn properly.

                                    COUNT VII
                               UNJUST ENRICHMENT
                               (Against All Defendants)

       129.139.      Ms. Dunn incorporates the allegations contained in the preceding

paragraphs as if the same were fully set forth herein.

       130.140.      Ms. Dunn pleads this Count in the alternative to Counts II and III.

       131.141.      Ms. Dunn performed labor for APP and to the benefit of all

Defendants, but Ms. Dunn has not been fully paid for her labor.

       132.142.      All Defendants have been unjustly enriched through their interests in

APP’s profits by retaining wages earned by Ms. Dunn.

       133.143.      Injustice would result if Defendants were allowed to retain this

benefit.

       134.144.      Accordingly, Defendants should be required to pay to Ms. Dunn the

wages she has earned.

                                     COUNT VIII
                                 QUANTUM MERUIT
                                (Against All Defendants)

       135.145.      Ms. Dunn incorporates the allegations contained in the preceding

paragraphs as if the same were fully set forth herein.

       136.146.      Ms. Dunn pleads this Count in the alternative to Counts II and III.     Formatted: Font: 13 pt
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                                             23
                 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 93 of 100




       137.147.         Ms. Dunn performed labor for APP and to the benefit of all

Defendants, but Ms. Dunn has not been fully paid for her labor.

       138.148.         The reasonable value of the labor Ms. Dunn provided greatly

exceeded the compensation she received.

       139.149.         As detailed more fully above, at times, Ms. Dunn received no payment

for her labor.

       140.150.         Ms. Dunn reasonably expected to be paid for the reasonable value of

her labor.

       141.151.         Injustice would result if Defendants are not required to compensate

Ms. Dunn for the reasonable value of her labor.

       142.152.         Accordingly, Defendants should be required to pay to Ms. Dunn the

wages she has earned.

                                COUNT IX
         WRONGFUL TERMINATION/WHISTLEBLOWER VIOLATION
                           Minn. Stat. § 181.932
                  (Against All DefendantsDefendant APP)                                        Formatted: Font: 13 pt


       143.153.         Ms. Dunn incorporates the allegations contained in the preceding

paragraphs as if the same were fully set forth herein.

       144.154.         The Minnesota Whistleblower Act provides:

                 Prohibited action. An employer shall not discharge, discipline,
                 threaten, otherwise discriminate against, or penalize an
                 employee regarding the employee'semployee’s compensation,                     Formatted: Font: 13 pt

                 terms, conditions, location, or privileges of employment
                 because:

                 (1) the employee, or a person acting on behalf of an employee,
                 in good faith, reports a violation, suspected violation, or                   Formatted: Font: 13 pt
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                                               24
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 94 of 100




              planned violation of any federal or state law or common law or
              rule adopted pursuant to law to an employer or to any
              governmental body or law enforcement official;

              (2) the employee is requested by a public body or office to
              participate in an investigation, hearing, inquiry;

              (3) the employee refuses an employer'semployer’s order to                  Formatted: Font: 13 pt

              perform an action that the employee has an objective basis in
              fact to believe violates any state or federal law or rule or
              regulation adopted pursuant to law, and the employee informs
              the employer that the order is being refused for that reason;

              (4) the employee, in good faith, reports a situation in which the
              quality of health care services provided by a health care
              facility, organization, or health care provider violates a
              standard established by federal or state law or a professionally
              recognized national clinical or ethical standard and potentially
              places the public at risk of harm;

                                            ...

Minn. Stat. § 181.932, subd. 1.

      145.155.       Ms. Dunn made good faith reports that she believed she was given

incomplete information regarding billing codes and demanded additional information.

      146.156.       Ms. Dunn made expressed good faith concerns that her compensation

was not being properly calculated.

      147.157.       Shortly after Ms. Dunn’s report, APP terminated Ms. Dunn’s

employment.

      148.158.       APP’s termination of Ms. Dunn’s employment was motivated at least

in part by her complaints of improper billing and failure to account for and pay her

compensation.

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                CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 95 of 100




          149.159.     Ms. Dunn has suffered damages as a result of APP’s retaliatory

termination, including past and future lost wages and benefits and the costs of bringing this

action.

                                      COUNT X
                     FAILURE TO PROVIDE PERSONNEL RECORDS
                                 Minn. Stat. § 181.961
                               (Against Defendant APP)                                          Formatted: Font: 13 pt


          150.160.     Ms. Dunn incorporates the allegations contained in the preceding

paragraphs as if the same were fully set forth herein.

          151.161.     Ms. Dunn demanded that APP provide her a copy of her personnel

records.

          152.162.     More than seven working days have elapsed since Ms. Dunn’s

request, and APP has provided no personnel records.

          153.163.     Ms. Dunn incurred damages including attorney fees as a result of

APP’s refusal to provide copies of Ms. Dunn’s personnel records.

                           COUNT XI
 VIOLATION OF THE FEDERAL FAIR LABOR STANDARDS ACT (“FLSA”)
                     (Against All Defendants)                                                   Formatted: Font: 13 pt


          154.164.     Ms. Dunn incorporates the allegations in the preceding paragraphs as

if the same were fully set forth herein.

          155.165.     The FLSA requires covered employers to pay non-exempt employees

no less than one-and-one-half times their regular rate of pay for all hours worked in excess

of forty hours in a workweek. 29 U.S.C. § 207.


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                                             26
             CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 96 of 100




      166.   APP and, as individuals who acted in APP’s interest in relation to Ms. Dunn,

Mr. Franz and Dr. Rao, qualify as employers pursuant to 29 U.S.C. § 203(d).

      156.167.      Defendants are an “enterprise” as defined by the FLSA, 29 U.S.C. §      Formatted: Font: 13 pt


203(r)(1), and are engaged in commerce within the meaning of the FLSA, § 203(b), (s)(1).

      157.168.      Upon information and belief, Does 13–5 and Does 11–15 are joint         Formatted: Font: 13 pt


employers of Ms. Dunn and are also liable for failing to properly pay Ms. Dunn

      158.169.      Upon information and belief, Does 6–10 are owners of APP and are

also liable for APP’s failure to pay Ms. Dunn properly.

      159.170.      Ms. Dunn is a non-exempt covered employee under 29 U.S.C. §

203(e)(1).

      160.171.      Ms. Dunn has worked more than forty hours per week for Defendants

during the applicable time period.

      161.172.      Defendants have not properly compensated Ms. Dunn for their

overtime hours as required by the FLSA.

      162.173.      Defendants failed to make a good-faith effort to comply with the

FLSA as it relates to the compensation of Ms. Dunn.

      163.174.      Defendants knew Ms. Dunn worked overtime without proper

compensation, and they willfully failed and refused to pay Ms. Dunn wages at the required

overtime rates. See 29 U.S.C. § 255.

      164.175.      Defendants’ willful failure and refusal to pay Ms. Dunn overtime

wages for time worked violates the FLSA. 29 U.S.C. § 207.
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                                           27
               CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 97 of 100




       165.176.       Defendants failed to make, keep, and preserve records with respect to

each of its employees sufficient to determine their wages, hours, and other conditions of

employment, in violation of the FLSA, 29 U.S.C. § 255(a).

       166.177.       Ms. Dunn has been damaged by Defendants’ willful violations of the

FLSA and has suffered a loss of income and other damages.

       167.178.       Ms. Dunn is entitled to liquidated damages and attorney fees and costs

incurred as a result of this claim.

                                   COUNT XII
                         FAILURE TO TIMELY PAY WAGES
                               Minn. Stat. § 181.101
                                 (Defendant APP)

       168.179.       Ms. Dunn incorporates the allegations in the preceding paragraphs as

if the same were fully set forth herein.

       169.180.       During the course of Ms. Dunn’s employment, Defendant APP

regularly failed to pay Ms. Dunn within 31 days of the date the wages were owned.

       170.181.       More than 10 days have passed since Ms. Dunn has demanded her

earned but unpaid wages.

       171.182.       Ms. Dunn has been damaged by Defendant’s APP failure to timely

pay her earned wages.
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       183.    Ms. Dunn is entitled to damages in the amount of her unpaid wages, as well      Double, Numbered + Level: 1 + Numbering Style: 1, 2, 3, …
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as applicable statutory penalties for Defendant APP’s failure to timely pay wages, as well     Formatted: Font: 13 pt, Not Bold
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as attorney fees and costs incurred as a result of this claim. COUNT XIII                      Formatted: Font: 13 pt
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                                COUNT XIII                                                     Formatted: Font: 13 pt
              VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT                                      Formatted: Font: 13 pt



                                             28
                 CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 98 of 100




                                   Minn. Stat. 363A.01, et seq.
                                    (Against All Defendants)                                     Formatted: Font: 13 pt


          172.184.      Ms. Dunn incorporates the allegations contained in the preceding

paragraphs as if the same were fully set forth herein.

          173.185.      Ms. Dunn was and is qualified to work in hisher position with APP.       Formatted: Font: 13 pt


          174.186.      Ms. Dunn informed APP that she had been recently diagnosed

withtested for ADHD.                                                                             Formatted: Font: 13 pt


          175.187.      APP regarded Ms. Dunn as a person with a disability.

          176.188.      APP terminated Ms. Dunn at least in part as a result of its regarding

her as a person with a disability.

          177.189.      APP’s proffered reasons for terminating Ms. Dunn’s employment is

not worthy of credence because, despite claiming to have documentation of its alleged

bases, it did not provide those as part of Ms. Dunn’s personnel records and may not rely

upon them—if they exist—pursuant to Minn. Stat. § 181.963.                                       Formatted: Font: 13 pt


          178.190.      Accordingly, Ms. Dunn has been damaged on the basis of the actions

taken by APP to discriminate against her employment on the basis of disability.

          As a direct and proximate result of the violation, Ms. Dunn has sustained damages in

excess of $50,000 as well as interest, costs, disbursements, and incidental and consequential

losses.

                                        COUNT XIV
                                  PROMISSORY ESTOPPEL
                                   (Against All Defendants)

          191.   Ms. Dunn incorporates the allegations contained in the preceding paragraphs
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as if the same were fully set forth herein.                                                      Formatted: Font: 13 pt



                                                 29
              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 99 of 100




       192.   Ms. Dunn pleads this Count in the alternative to Counts II and III.

       193.   APP made a clear and definite promise to pay Ms. Dunn on the basis set forth

in the employment agreement.

       194.   APP, as the promisor, intended to induce reliance, and Ms. Dunn, as the

promise, in fact relied on the promise to her detriment.

       195.   In the absence of an adequate remedy at law, the promise must be enforced

to prevent injustice.

       196.   Ms. Dunn has suffered damages as a result of APP’s failure to fulfill its

promise.

                                REQUEST FOR RELIEF                                                 Formatted: Font: 13 pt


       Plaintiff, Sheila M. Dunn, requests that the Court:                                         Formatted: Font: 13 pt


       1.     Enter judgment in her favor and against Defendants for each of the claims

asserted in this Complaint;

       2.     Order a speedy hearing on Plaintiff’s claim for declaratory judgment in accordance

with Minnesota Rule of Civil Procedure 57;

       3.2.   Declare the noncompete/nonsolicit restrictive covenants contained in the             Formatted: Font: 13 pt


Employment Agreement to be unenforceable;

       4.3.   Enjoin Defendants and anyone acting on their behalf from attempting to

enforce the noncompete/non-solicit restrictive covenants contained in the Employment

Agreement or threatening Plaintiff or any third party with any enforcement action;



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              CASE 0:22-cv-00615-NEB-JFD Doc. 61 Filed 07/30/22 Page 100 of 100




       5.4.    Enter judgment in favor of Ms. Dunn and against APP, Mr. Franz, Dr. Rao,           Formatted: Font: 13 pt


and Does 13–20 jointly and severally in an amount greater than $50,000, to include                Formatted: Font: 13 pt


compensatory damages, to include front and back pay;

       6.5.    Award Ms. Dunn liquidated damages for unpaid wages;

       7.6.    Award Ms. Dunn the full statutory penalties for failure to timely pay wages;

       8.7.    Award Ms. Dunn her legal expenses, including attorney fees, costs, and

disbursements; and

       9.8.    Award all other relief the court deems just and equitable.


 Dated: March 4,______________, 2022             GODWIN DOLD                                      Formatted: Font: 13 pt
                                                                                                  Formatted: Font: 13 pt

                                                 /s/ James A. Godwin                              Formatted: Font: 13 pt

                                                 James A. Godwin, #392020                         Formatted: Font: 13 pt

                                                 Rick A. Dold, #394847
                                                 Chris K. White, #396840
                                                 300 1st Ave. NW, Suite 306                       Formatted: Font: 13 pt

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                                                 james@godwindold.com
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                                                 chris@godwindold.com
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                                                 ATTORNEYS FOR PLAINTIFF

                                  ACKNOWLEDGEMENT

The undersigned hereby acknowledges that costs, disbursements, and reasonable attorney and
witness fees may be awarded pursuant to Minn. Stat. § 549.211, subd. 1, to the party or parties   Formatted: Font: 13 pt
against whom the allegations in this pleading are asserted.

                                             /s/ James A. Godwin
                                             James A. Godwin, #392020
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